Case 6:18-bk-18036-SY                 Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02      Desc
                                       Main Document    Page 1 of 116


 1 D. EDWARD HAYS, #162507
   ehays@marshackhays.com
 2 CHAD V. HAES, #267221
   chaes@marshackhays.com
 3 TINHO MANG, #322146
   tmang@marshackhays.com
 4 MARSHACK HAYS LLP
   870 Roosevelt
 5 Irvine, California 92620
   Telephone: (949) 333-7777
 6 Facsimile: (949) 333-7778

 7 Attorneys for Chapter 7 Trustee,
   ROBERT S. WHITMORE
 8

 9                                     UNITED STATES BANKRUPTCY COURT
10                      CENTRAL DISTRICT OF CALIFORNIA – RIVERSIDE DIVISION
11
      In re                                                  Case No. 6:18-bk-18036-SY
12
                                                             Chapter 7
13    MCKENNA GENERAL ENGINEERING, INC.,
                                                             MOTION TO APPROVE AGREEMENT
14                                                           REGARDING COLLECTION OF
                            Debtor.                          RECEIVABLES AND PARTIAL
15                                                           SUBORDINATION OF LIEN WITH
                                                             PACIFIC WESTERN BANK;
16                                                           DECLARATION OF ROBERT S.
                                                             WHITMORE IN SUPPORT
17
                                                             Date: November 14, 2019
18                                                           Time: 9:30 a.m.
                                                             Courtroom: 302
19
                                                             Address: 3420 Twelfth Street, Riverside, CA
20                                                           92501

21 / / /

22 / / /

23 / / /

24 / / /

25 / / /

26 / / /

27 / / /

28

                               MOTION TO APPROVE PARTIAL SUBORDINATION AGREEMENT
     4841-2819-4986, v. 1
 Case 6:18-bk-18036-SY                   Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02                                              Desc
                                          Main Document
                                                  TABLE OFPage 2 of 116
                                                            CONTENTS
 1

 2                                                                                                                                            Page

 3   1.        Summary of Argument ..............................................................................................................1
 4   2.        Procedural Background..............................................................................................................1
 5             A. Statement of Facts.................................................................................................................1
 6
               B. PWB Claim ...........................................................................................................................3
 7
               C. Summary of Agreement ........................................................................................................4
 8
     3.        Legal Argument .........................................................................................................................5
 9
               A.         The Court should approve the Agreement .....................................................................5
10
               i.         Probability of success ....................................................................................................6
11
               ii.        Difficulties in collection ................................................................................................6
12

13             iii.       Complexity.....................................................................................................................7

14             iv.        Expense, inconvenience or delay...................................................................................7

15             B.         The Court may approve the Agreement as it relates to cash collateral..........................8

16             C.         The Immediate Payments should be authorized to be paid on an ongoing basis
                          without further order from the Court .............................................................................8
17
               D.         The 8% carve-out to the Estate is proper and should be approved ................................9
18
               i.         Has the Trustee fulfilled his basic duties? .....................................................................9
19

20             ii.        Is there a benefit to the Estate? ....................................................................................10

21             iii.       Have the terms of the Agreement been fully disclosed to the Court? .........................10

22   4.        Conclusion ...............................................................................................................................11

23   Declaration of Robert S. Whitmore .....................................................................................................12
24

25

26

27

28




                                                                              i
     305247v1/1253-008
     4816-1369-4634, v. 1
 Case 6:18-bk-18036-SY         Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02              Desc
                                Main Document    Page 3 of 116



 1                                         TABLE OF AUTHORITIES

 2                                                                                                Page

 3
     Cases
 4

 5   In re A & C Properties,

 6            784 F.2d 1377, 1380-81 (9th Cir. 1986), cert. den., Martin v. Robinson, 479 U.S. 854, 107

 7            S.Ct. 189 (1989)…………………….…………………………………………………...…….5

 8   ATKN Company v. Guy F. Atkinson Company of California (In re Guy F. Atkinson Company),

 9            242 B.R 497, 502 (B.A.P. 9th Cir. 1999)……………………………………………………..5

10   California Aviation, Inc. v. Leeds,

11            233 Cal.App.3d 724, 733-35 (1991)…………………………….…………………………….7

12   In re GPLA, Inc.,

13            2016 Bankr. LEXIS 3085 at *7 (Bankr. C.D. Cal. 2016) (Kwan, J.)…………………………8

14   In re KVN Corp.,

15            514 B.R. 1, 5, 8 (B.A.P. 9th Cir. 2014)..……………………………….…………………9, 10

16   In re Mahoney, Trocki & Associates, Inc.,

17            111 B.R. 914, 920 n.6 (Bankr. S.D. Cal. 1990)……………………..………………….…….7

18   ProAlert,

19            314 B.R. at 440.…………...…..……………………………….……………………………...8

20   Schmitt v. Ulrich (In re Schmitt),

21            215 B.R. 417, 424 (B.A.P. 9th Cir. 1997) ….…………………………………………..…….5

22   In re Scoggins,

23            517 B.R. 206, 222 (Bankr. E.D. Cal. 2014).…..……………………………………………..10

24   Security Leasing Partners, LP v. ProAlert, LLC (In re ProAlert, LLC),

25            314 B.R. 436, 440 (B.A.P. 9th Cir. 2004)………...…..……………………………….…….7

26   In re Tollenaar Holsteins,

27            538 B.R. 830, 835-43 (Bankr. E.D. Cal. 2015).…………...…..………………………..…….7

28
                                                       ii
     305247v1/1253-008
     4816-1369-4634, v. 1
 Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02            Desc
                             Main Document    Page 4 of 116



 1                                   TABLE OF AUTHORITIES

 2                                                                                          Page

 3
     Statutes
 4
     11 U.S.C. § 108(a) ………………………………………………………..……………….………….7
 5
     11 U.S.C. § 326 ………………………………………………………………………………….……4
 6
     11 U.S.C. § 363 ………………………………………………………….……………….………….11
 7
     11 U.S.C. § 363(c)(2). …………………………………………………………………….………8, 9
 8
     11 U.S.C. § 506(c)………………………………………………………………….………...…….5, 6
 9
     11 U.S.C. § 704(a)(1). ……..………………………………………………………………………….9
10
     11 U.S.C. § 704(a)(5). …………………………………………………………………….………….9
11
     Chapter 7 of Title 11 of the United States Code in the Central District of California …….………….1
12
     Fed. R. Bankr. Proc. 3009…….……………………………………………………………………….8
13
     Fed. R. Bankr. Proc. 9019…….……………………………………………………………………….5
14
     Rule 9019……………………….………………………………………………………….………….5
15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                   iii
     305247v1/1253-008
     4816-1369-4634, v. 1
Case 6:18-bk-18036-SY           Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02                 Desc
                                 Main Document    Page 5 of 116


 1 TO THE HONORABLE SCOTT H. YUN, UNITED STATES BANKRUPTCY COURT JUDGE,

 2 THE OFFICE OF THE UNITED STATES TRUSTEE, AND ALL INTERESTED PARTIES:

 3            Robert S. Whitmore, the chapter 7 trustee (“Trustee”) for the bankruptcy estate (“Estate”) of
 4 McKenna General Engineering, Inc. (“Debtor”), respectfully submits this motion (“Motion”) to

 5 approve agreement for collection of receivables, partial subordination of lien, use of cash collateral,

 6 and distribution of proceeds (“Agreement”) with Pacific Western Bank (“PWB”) and to authorize

 7 the immediate disbursement of certain funds to PWB in accordance with the Agreement.

 8 1.         Summary of Argument
 9            The senior secured blanket lienholder in this case, PWB, has filed a notice of interest in
10 accounts receivable and proceeds and non-consent to use cash collateral. Absent consent or a court

11 order, the Trustee is not authorized to use any funds flowing from the collection of accounts

12 receivable in this case. Shortly after the commencement of this case, the Trustee initiated

13 negotiations with PWB for a proposal to partially subordinate PWB’s security interest in the

14 Debtor’s accounts. The Trustee and PWB have now reached an agreement which provides that 48%

15 of PWB’s security interest will be subordinated for payment purposes to the Estate, including an 8%

16 reserve for the benefit of the Estate. Because the approval of the Agreement will provide a sure

17 recovery for unsecured creditors and minimize postpetition interest which may accrue on account of

18 PWB’s claim through immediate payments to PWB, the Agreement is reasonable and should be

19 approved by the Court in the best interest of the Estate and creditors.

20 2.         Procedural Background
21            A.       Statement of Facts
22            On September 21, 2018, Debtor filed a voluntary petition under Chapter 7 of Title 11 of the
23 United States Code in the Central District of California. On the same day, Robert S. Whitmore

24 (previously defined as “Trustee”) was appointed as the Chapter 7 Trustee.

25            In its Schedule A/B, Debtor listed a series of outstanding accounts receivables, in the total
26 face amount of $2,081,409.46.

27 / / /

28
                                                     1
                            MOTION TO APPROVE PARTIAL SUBORDINATION AGREEMENT
     4841-2819-4986, v. 1
Case 6:18-bk-18036-SY           Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02                Desc
                                 Main Document    Page 6 of 116


 1            In Debtor’s Schedule D, PWB was listed as a secured creditor with a scheduled secured debt
 2 of $950,098.16.

 3            On March 11, 2019, as Dk. No. 73, the Trustee filed a motion to approve compromise with
 4 Neff Construction to settle the outstanding accounts owed by Neff for the total amount of

 5 $114,945.91.

 6            On April 8, 2019, as Dk. No. 79, the Court entered an order approving the compromise with
 7 Neff. The Trustee subsequently received the settlement payment of $114,945.91.

 8            On April 16, 2019, as Dk. No. 81, PWB filed its Notice of Interest in Accounts Receivable
 9 and Proceeds and Non-Consent to Use of Cash Collateral and Demand for Segregation of Cash

10 Collateral asserting its Lien against accounts receivable of the Debtor and any proceeds thereof

11 (collectively, the “Collateral”).

12            On June 10, 2019, as Dk. No. 87, the Trustee filed a second motion to approve compromise
13 with the Irvine Company to settle the outstanding account owed by the Irvine Company for the total

14 amount of $47,941.96.

15            On July 2, 2019, as Dk. No. 93, the Court entered an order approving the compromise. The
16 Trustee subsequently received the settlement payment of $47,941.96.

17            On August 30, 2019, as Dk. No. 96, the Trustee filed a third motion to approve compromise
18 with the Santa Margarita Water District to settle litigation pending in state court originating from the

19 Debtor’s prepetition lawsuit against the Water District related to a construction project.

20            On October 1, 2019, as Dk. No. 104, the Court entered an order approving the compromise.
21 The Trustee subsequently received the settlement payment of $85,000 and filed a request for

22 dismissal of the state court action.

23            On October 9, 2019, as Dk. No. 109, the Trustee filed a fourth motion to approve
24 compromise with Bernards Bros., Inc. to settle the outstanding account owed by Bernards for the

25 total amount of $95,000. The Trustee does not anticipate any objection to this motion and expects to

26 have an order from the Court approving the compromise by the hearing on this motion.

27

28
                                                     2
                            MOTION TO APPROVE PARTIAL SUBORDINATION AGREEMENT
     4841-2819-4986, v. 1
Case 6:18-bk-18036-SY           Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02               Desc
                                 Main Document    Page 7 of 116


 1            In total, the Trustee is holding $252,518.51, all of which is subject to the Lien and PWB’s
 2 security interest. Since the Petition Date, the Trustee has been charged $80.63 in bank fees and

 3 bonding costs. The Trustee has to date collected $252,599.14 in accounts subject to the Lien.

 4            The Trustee has sought to engage special collections counsel for a number of the remaining
 5 accounts receivables owed to the Debtor, but cannot finalize terms of proposed compensation with

 6 special collections counsel (likely on a contingency or hybrid basis) unless the Agreement is

 7 approved and the Trustee is authorized to use a portion of PWB’s cash collateral for costs of

 8 collection.

 9            B.       PWB Claim
10            On or around September 26, 2012, Debtor executed a promissory note ("Note") in favor of
11 California United Bank (“CUB”), in the amount of $1,000,000, which was due and payable in

12 monthly interest payments, with a maturity date of August 1, 2013. The Note was amended from

13 time to time A true and correct copy of the Note and subsequent amendments is attached to the

14 Whitmore Declaration as Exhibit “2.”

15            On the same date, Debtor and CUB entered into a security agreement, whereby Debtor
16 granted CUB a security interest in substantially all assets of the Debtor to secure its payment

17 obligations under the Note (“Lien”). A true and correct copy of the security agreement is attached to

18 the Whitmore Declaration as Exhibit “3.”

19            On October 3, 2012, CUB filed a UCC-1 financing statement (Document No. 34832410002)
20 against Debtor, perfecting its Lien against Debtor. PWB filed a continuation of this UCC-1 financing

21 statement on May 12, 2017. A true and correct copy of the UCC-1 and the continuation statement is

22 collectively attached to the Whitmore Declaration as Exhibit “4.”

23            Effective on October 20, 2017, CUB merged with PWB. PWB is the successor in right, title,
24 and interest to the rights, properties, assets, and agreements with CUB.

25            On May 16, 2019, PWB filed proof of claim no. 42-1 in the total amount of $1,031,157.24,
26 claiming a fully secured debt with an annual interest rate of 11.75% (“PWB Claim”). A true and

27 correct copy of proof of claim no. 42-1 is attached to the Whitmore Declaration as Exhibit “5.”

28
                                                     3
                            MOTION TO APPROVE PARTIAL SUBORDINATION AGREEMENT
     4841-2819-4986, v. 1
Case 6:18-bk-18036-SY           Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02              Desc
                                 Main Document    Page 8 of 116


 1            On May 15, 2019, the bankruptcy court entered an order in the bankruptcy case, case no.
 2 8:18-bk-13588-SC, of the Debtor’s former principal Timothy M. McKenna (“Mr. McKenna”),

 3 authorizing PWB to apply $387,299.29 in escrowed funds (“Escrowed Funds”) against any debt

 4 owed to PWB. A true and correct copy of the order granting PWB relief from the automatic stay

 5 regarding the Escrowed Funds is attached to the Whitmore Declaration as Exhibit “6.”

 6            C.       Summary of Agreement
 7            THE MATERIAL TERMS OF THE AGREEMENT ARE SUMMARIZED BELOW FOR
 8 CONVENIENCE ONLY. THIS SUMMARY DOES NOT CONSTITUTE THE ACTUAL

 9 AGREEMENT AND INTERESTED PARTIES SHOULD REFER TO THE FULL TEXT OF THE

10 STIPULATION FOR THE COMPLETE TERMS.

11            1. Allowance of PWB Claim. (¶ 4) The Trustee and PWB agree that PWB shall be allowed a
12 secured claim in the amount of $1,031,157.24, reduced by all immediate payments (described

13 below) and amounts collected independently by PWB towards satisfaction of the claim, including

14 the $387,299.29 in escrowed funds applied against the claim on account of Tim McKenna’s personal

15 guarantee and any funds collected from accounts for which PWB has elected to prosecute under the

16 option procedure (explained below). In the event that the Trustee collects more than the initial

17 amount of the allowed PWB Claim, PWB shall be entitled to, pursuant to 11 U.S.C. § 506(b), collect

18 postpetition interest at the contractual default interest rate of 11.75% and other costs or expenses

19 associated with collecting the PWB Claim which were incurred by PWB.

20            2. Immediate Payments. (¶¶ 2a, 5) The Trustee shall immediately disburse 52% of all funds
21 collected subject to the Lien to PWB, according to the wire transfer instructions provided by PWB.

22            3. Administrative Reserve & Agreement to use Cash Collateral. (¶¶ 2b-c, 2e, 3) PWB agrees
23 that the Trustee may hold in reserve 48% of all gross collections, of which 40% of gross collections

24 may be used by the Trustee for administrative costs (“Administrative Reserve”) including the

25 Trustee’s compensation under 11 U.S.C. § 326 and the administrative expenses incurred by his

26 professionals in the course of collections. PWB reserves the right to object to allowance of

27 administrative fees and expenses.

28
                                                     4
                            MOTION TO APPROVE PARTIAL SUBORDINATION AGREEMENT
     4841-2819-4986, v. 1
Case 6:18-bk-18036-SY               Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02               Desc
                                     Main Document    Page 9 of 116


 1            4. Estate Reserve. (¶ 2d) Separate and apart from the Administrative Reserve, 8% of gross
 2 collections shall be reserved for the Estate.

 3            5. Option to PWB. (¶ 6) In the event that the Trustee determines that any of the Debtor’s
 4 receivables are of inconsequential value to the Estate, the Trustee shall provide written notice

 5 (“Option Notice”) of that determination and PWB shall have the option to prosecute the collection of

 6 those receivables, to be exercised by written notice to the Trustee within thirty days of the Option

 7 Notice to PWB.

 8 3.         Legal Argument
 9            A.       The Court should approve the Agreement.
10            Under Rule 9019, the court may approve a compromise or settlement on motion by the
11 trustee. Fed. R. Bankr. Proc. 9019. It is well-established that a compromise should be approved if it

12 is “in the best interest of the estate . . . and is fair and equitable for the creditors.” Schmitt v. Ulrich

13 (In re Schmitt), 215 B.R. 417, 424 (B.A.P. 9th Cir. 1997); ATKN Company v. Guy F. Atkinson

14 Company of California (In re Guy F. Atkinson Company), 242 B.R 497, 502 (B.A.P. 9th Cir. 1999)

15 (“At its base, the approval of a settlement turns on the question of whether the compromise is in the

16 best interest of the estate”). The standards to be applied to the approval of a settlement include:

17            1)       the probability of success of the litigation on its merits;
18            2)       the difficulties in collection on a judgment;
19            3)       the complexity of the litigation involved; and
20            4)       the expense, inconvenience or delay occasioned by the litigation, and the interest of
21                     creditors.
22 In re A & C Properties, 784 F.2d 1377, 1380-81 (9th Cir. 1986), cert. den., Martin v. Robinson, 479

23 U.S. 854, 107 S.Ct. 189 (1989).

24            Paragraph 2e of the Agreement provides that “there shall be no surcharge of PWB’s
25 Collateral under 11 U.S.C. § 506(c), or otherwise.” To the extent that this provision is construed as a

26 waiver, the Court should authorize the Trustee to compromise such claim. Paragraph 4 of the

27 Agreement provides that the Trustee “will not object to payment of the PWB Claim out of the Estate

28
                                                     5
                            MOTION TO APPROVE PARTIAL SUBORDINATION AGREEMENT
     4841-2819-4986, v. 1
Case 6:18-bk-18036-SY            Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02                Desc
                                 Main Document    Page 10 of 116


 1 to the extent stated in this Agreement.” As explained below, both waivers or releases should be

 2 approved in the best interest of the Estate.

 3                     i.      Probability of success
 4            The Trustee is not currently aware of any basis to object to the validity of the Lien. The Lien
 5 appears duly perfected by a properly-prepared financing statement, and PWB timely-filed a

 6 continuation statement. Additionally, to the extent PWB is entitled to collect postpetition interest as

 7 an oversecured creditor (in the event that the value of the Debtor’s accounts receivables exceed the

 8 value of the principal of the PWB Claim), the Trustee is unaware of any basis to disallow PWB’s

 9 entitlement to postpetition interest. Because the Trustee sees no prospect of success in litigation

10 against PWB for the validity of its Lien, this factor weighs heavily in favor of approving the

11 Agreement.

12            As to the Trustee’s ability to seek a surcharge of PWB’s Lien for collection costs which
13 would be necessary to preserve the value of the collateral under 11 U.S.C. § 506(c), the Trustee is

14 confident that he would prevail in seeking a surcharge of the collateral.1 However, the extent to

15 which the Trustee could charge administrative expenses against the collateral appears to be an

16 unsettled question in the Ninth Circuit. Thus, the degree to which the Trustee may surcharge leaves

17 the probability of success in question – especially when compared to the agreed-upon administrative

18 reserve of 40% of gross collections provided in the Agreement.

19                     ii.     Difficulties in collection
20            If the Trustee were successful in litigation objecting to PWB’s Lien or surcharge, there
21 would be no difficulty in “collecting.” Specifically, the avoidance, recovery, and preservation of the

22 Lien would permit the Trustee to step into PWB’s shoes and preserve those funds otherwise subject

23 to the Lien for the benefit of the Estate. For surcharge, the Trustee would simply be able to apply the

24 funds in his possession to the payment to the extent of the surcharge.

25

26

27   1
    “The trustee may recover from property securing an allowed secured claim the reasonable,
28 necessary  costs and expenses of preserving, or disposing of, such property to the extent of any
   benefit to the holder of such claim…” 11 U.S.C. § 506(c).
                                                      6
                             MOTION TO APPROVE PARTIAL SUBORDINATION AGREEMENT
     4841-2819-4986, v. 1
Case 6:18-bk-18036-SY             Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02               Desc
                                  Main Document    Page 11 of 116


 1                     iii.     Complexity
 2            The Trustee is unaware of any basis to object to the validity of the Lien. For surcharge, the
 3 analysis is rather complex: there are two tests for determining an entitlement to surcharge. First,

 4 there is an “objective test” which requires the trustee to prove up a three-factor test for all expenses

 5 claimed in the surcharge. See Security Leasing Partners, LP v. ProAlert, LLC (In re ProAlert, LLC),

 6 314 B.R. 436, 440 (B.A.P. 9th Cir. 2004). Alternatively, a secured creditor may be surcharged if it

 7 has impliedly consented to or caused the expenses incurred. See, e.g., In re Tollenaar Holsteins, 538

 8 B.R. 830, 835-43 (Bankr. E.D. Cal. 2015). Then, the court may determine after weighing a number

 9 of factors the proper extent of the surcharge based on all applicable theories. See id. at 843.

10            Fully briefing and litigating a surcharge claim against PWB would require extensive
11 research, factual analysis, and drafting. Because of the complexity of the surcharge issues and the

12 factually intensive nature of the inquiry, this factor weighs heavily in favor of approving the

13 Agreement.

14                     iv.      Expense, inconvenience or delay
15            The Trustee is informed that PWB is well-funded and any litigation against PWB would be
16 likely to be vigorously defended. Moreover, the Trustee may only have a limited period of time

17 remaining to file actions to collect on pre-petition accounts. See 11 U.S.C. § 108(a) (providing that

18 the Trustee has a two-year extension of statutes of limitations which have not yet expired as of the

19 date of the petition); see, e.g., In re Mahoney, Trocki & Associates, Inc., 111 B.R. 914, 920 n.6

20 (Bankr. S.D. Cal. 1990); see also, e.g., California Aviation, Inc. v. Leeds, 233 Cal.App.3d 724, 733-

21 35 (1991) (“numerous federal authorities have concluded that 11 United States Code section 108(a)

22 controls over conflicting limitations statutes.”). Thus, it is imperative that the Trustee obtain

23 authorization from the Court to use cash collateral to compensate special collections counsel.

24            Rather than litigate the surcharge issue, the Trustee and PWB have come to an agreement
25 which benefits both parties – if the Trustee could not get approval of this Agreement, both the Estate

26 and PWB would likely be harmed if the Trustee had no choice but to abandon all of the remaining

27 accounts. As explained in detail above, litigation over the Lien or the extent of an allowable

28
                                                       7
                              MOTION TO APPROVE PARTIAL SUBORDINATION AGREEMENT
     4841-2819-4986, v. 1
Case 6:18-bk-18036-SY           Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02                 Desc
                                Main Document    Page 12 of 116


 1 surcharge would be complex and there is no guarantee that such litigation would result in a better

 2 outcome for the Estate than the terms of the Agreement. Thus, this factor weighs heavily in favor of

 3 approving the Agreement.

 4            B.       The Court may approve the Agreement as it relates to cash
 5                     collateral.
 6            The trustee “may not use, sell or lease cash collateral…. unless: (A) each entity that has an
 7 interest in such cash collateral consents; or (B) the court, after notice and a hearing, authorizes such

 8 use, sale, or lease in accordance with the provisions of this section.” 11 U.S.C. § 363(c)(2); see, e.g.,

 9 ProAlert, 314 B.R. at 440. As set forth in the factual history above, PWB has filed a notice of

10 interest in accounts receivables and non-consent to use cash collateral. Absent consent or a court

11 order (or a surcharge), the Trustee may not use PWB’s cash collateral.

12            Under the terms of the Agreement, PWB is consenting to the Trustee’s use of cash collateral
13 to compensate costs of collections, capped at 40% of the gross collections subject to the Lien. Thus,

14 the Agreement simply ratifies PWB’s consent to use cash collateral.

15            C.       The Immediate Payments should be authorized to be paid on an
16                     ongoing basis without further order from the Court.
17            “In a chapter 7 case, dividends to creditors shall be paid as promptly as practicable.” Fed. R.
18 Bankr. Proc. 3009; see In re GPLA, Inc., 2016 Bankr. LEXIS 3085 at *7 (Bankr. C.D. Cal. 2016)

19 (Kwan, J.).

20            Under the Agreement, the PWB Claim will be allowed in the amount stated in the
21 Agreement, and will be reduced according to all payments received, including application of the

22 Escrowed Funds from Mr. McKenna’s individual case. The Trustee believes that it is in the best

23 interest of the Estate to make the maximum payment to PWB immediately upon approval of the

24 Agreement in order to further reduce the PWB Claim and any claim of PWB to postpetition interest

25 as a potentially oversecured creditor. Because the PWB Claim will be allowed as a secured claim,

26 there is no reason for the Trustee to withhold payments to PWB that it would be entitled to receive at

27 the end of the case on account of its secured claim. Thus, the Trustee is requesting a court order

28
                                                     8
                            MOTION TO APPROVE PARTIAL SUBORDINATION AGREEMENT
     4841-2819-4986, v. 1
Case 6:18-bk-18036-SY            Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02                Desc
                                 Main Document    Page 13 of 116


 1 specifically authorizing him to immediately disburse $131,351.55, which equals 52% of the funds

 2 collected to date by the Trustee which are subject to the Lien ($252,599.14). Additionally, the

 3 Trustee requests that he be authorized to immediately disburse 52% of all future gross collections

 4 subject to the Lien to PWB, upon approval of any motion to approve compromise or collection of

 5 judgment filed with the Court for any additional account. For future collections subject to the Lien,

 6 the Trustee requests that the Court authorize the inclusion of a provision for immediate payment to

 7 PWB in all future compromise orders in the amount of 52% of any settlement proceeds.

 8            D.       The 8% carve-out to the Estate is proper and should be approved.
 9            “[T]he sale of a fully encumbered asset is generally prohibited.” In re KVN Corp., 514 B.R.
10 1, 5 (B.A.P. 9th Cir. 2014). Such a sale, however, may nevertheless be justified through a negotiated

11 carve-out agreement with the secured creditor. Id. at 6. Additionally, such sales are permitted if there

12 are additional benefits to the Estate such as may arise when cross-collateralization exists.

13            When seeking approval of a carve-out agreement, the trustee must present evidence
14 addressing the following questions: “Has the trustee fulfilled his or her basic duties? Is there a

15 benefit to the estate; i.e. prospects for a meaningful distribution to unsecured creditors? Have the

16 terms of the carve-out agreement been fully disclosed to the bankruptcy court?” KVN Corp, 514 B.R.

17 at 8. If the answer to these questions demonstrates that the estate will be benefitted, then the

18 proposed carve-out can be approved. The Agreement provides not only a means to pay the Trustee’s

19 professionals through the administrative reserve of 40% of gross collections, but further provides an

20 additional direct benefit to the Estate of 8% of the proceeds otherwise payable to PWB on account of

21 its Lien. Absent the Agreement, is likely that the Trustee’s collection of receivables subject to the

22 Lien would have resulted in little or no commensurate benefit to the Estate.

23                          i.       Has the Trustee fulfilled his basic duties?
24            The Trustee has a duty to expeditiously administer the assets of the estate for the benefit of
25 creditors. 11 U.S.C. § 704(a)(1). The Trustee also has a duty to examine and, if necessary, object to

26 claims such as secured claims. 11 U.S.C. § 704(a)(5). Finally, the Trustee may not use cash

27 collateral without consent of the lienholder or Court approval. 11 U.S.C. § 363(c)(2).

28
                                                     9
                            MOTION TO APPROVE PARTIAL SUBORDINATION AGREEMENT
     4841-2819-4986, v. 1
Case 6:18-bk-18036-SY              Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02            Desc
                                   Main Document    Page 14 of 116


 1            Before entering into the Agreement, the Trustee carefully analyzed PWB’s security interest
 2 and considered all possible theories under which the Lien might be challenged. As described above,

 3 the Trustee is unaware of any theory under which the Lien could be avoided, and the difficulties

 4 inherent with such a challenge would render any litigation on the Lien cost-prohibitive to the Estate.

 5 Finally, the Trustee may not use PWB’s cash collateral absent consent or Court approval of such use.

 6 The Trustee has fulfilled his basic duties in entering into the Agreement, which will maximize

 7 recoveries in this case, provide for the payment of administrative expenses, and reserve a certain

 8 portion for the benefit of the Estate.

 9                          ii.       Is there a benefit to the Estate?
10            Benefit to the estate is typically measured by a “meaningful distribution to unsecured
11 claims.” In re Scoggins, 517 B.R. 206, 222 (Bankr. E.D. Cal. 2014). For example, there is a

12 meaningful distribution to unsecured claims if the distribution to be made is greater than the trustee’s

13 fees. Id. at 223.

14            As discussed above, under the Agreement, PWB consents to the use of its cash collateral to
15 pay certain administrative expenses and it will further carve-out for the benefit of the Estate 8% of

16 proceeds of sale otherwise subject to its lien. Thus, the proposed carve-out is intended to and will

17 benefit unsecured creditors. To illustrate, approval of the Agreement will result in an immediate

18 reservation of 8% of the funds held by the Trustee for the benefit of the Estate, which equals

19 $20,207.93.2

20                          iii.      Have the terms of the Agreement been fully disclosed to
21                                    the Court?
22            The Agreement fully disclosed the terms of the carve-out, and a true and correct, executed
23 copy of the Agreement is attached as Exhibit “1” to the Whitmore Declaration. Thus, the Stipulation

24 satisfies all three KVN factors and should be approved by the Court.

25 / / /

26

27
     2
28       Eight percent of gross collections ($252,599.14) equals $20,207.93.
                                                    10
                            MOTION TO APPROVE PARTIAL SUBORDINATION AGREEMENT
     4841-2819-4986, v. 1
Case 6:18-bk-18036-SY            Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02                 Desc
                                 Main Document    Page 15 of 116


 1 4.         Conclusion
 2            The Trustee requests that this Court grant this motion in its entirety and enter an order:
 3            (1) Approving the Agreement;
 4            (2) Authorizing the Trustee to provide the releases in the Agreement to PWB;
 5            (3) Allowing the PWB Claim pursuant to the terms of the Agreement;
 6            (4) Authorizing the Trustee to use cash collateral under 11 U.S.C. § 363 according to the
 7                 terms of the Agreement for the payment of administrative expenses, including costs of
 8                 collection and bonding costs;
 9            (5) Authorizing the terms of the proposed 8% carve-out;
10            (6) Authorizing the Trustee to immediately disburse $131,351.55 to PWB, which is 52% of
11                 the $252,599.14 that the Trustee has collected in this case subject to the Lien;
12            (7) Authorizing the Trustee to immediately distribute to PWB 52% of all future collections
13                 subject to the Lien without further court order;
14            (8) Authorizing PWB to prosecute collection of receivables which the Trustee determines to
15                 be of inconsequential value to the Estate upon written notice to the Trustee pursuant to
16                 the Agreement; and
17            (9) For such other and further relief as the Court deems just and proper.
18

19 Dated: October 23, 2019                         MARSHACK HAYS LLP
20
                                                   By:   /s/ Tinho Mang
21                                                       D. EDWARD HAYS
                                                         CHAD V. HAES
22                                                       TINHO MANG
                                                         Attorneys for Chapter 7 Trustee,
23                                                       ROBERT S. WHITMORE
24

25

26

27

28
                                                    11
                            MOTION TO APPROVE PARTIAL SUBORDINATION AGREEMENT
     4841-2819-4986, v. 1
Case 6:18-bk-18036-SY            Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02                  Desc
                                 Main Document    Page 16 of 116


 1                                   Declaration of Robert S. Whitmore
 2            I, ROBERT S. WHITMORE, declare as follows:
 3            1.       I am an individual over 18 years of age and competent to make this Declaration.
 4            2.       If called upon to do so, I could and would competently testify as to the facts set forth
 5 in this Declaration.

 6            3.       The facts set forth below are true of my personal knowledge.
 7            4.       I seek approval of an agreement for collection of receivables, partial subordination of
 8 lien, use of cash collateral, and distribution of proceeds (“Agreement”). A true and correct, executed

 9 copy of the Agreement is attached as Exhibit “1.”

10            5.       I am the Chapter 7 Trustee of the bankruptcy estate (“Estate”) of McKenna General
11 Engineering, Inc. (“Debtor”).

12            6.       On or around September 26, 2012, Debtor executed a promissory note ("Note") in
13 favor of California United Bank (“CUB”), in the amount of $1,000,000, which was due and payable

14 in monthly interest payments, with a maturity date of August 1, 2013. The Note was amended from

15 time to time. A true and correct copy of the Note and subsequent amendments is attached as Exhibit

16 “2.”

17            7.       On the same date, Debtor and CUB entered into a security agreement, whereby
18 Debtor granted CUB a security interest in substantially all assets of the Debtor to secure its payment

19 obligations under the Note (“Lien”). A true and correct copy of the security agreement is attached as

20 Exhibit “3.”

21            8.       On October 3, 2012, CUB filed a UCC-1 financing statement (Document
22 No. 34832410002) against Debtor. PWB filed a Continuation of this UCC-1 financing statement on

23 May 12, 2017. A copy of the UCC-1 and the continuation statement is collectively attached as

24 Exhibit “4.”

25            9.       Effective on October 20, 2017, I am informed that CUB merged with PWB, and that
26 PWB is the successor in right, title, and interest to the rights, properties, assets, and agreements with

27 CUB.

28
                                                    12
                            MOTION TO APPROVE PARTIAL SUBORDINATION AGREEMENT
     4841-2819-4986, v. 1
Case 6:18-bk-18036-SY            Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02                 Desc
                                 Main Document    Page 17 of 116


 1            10.      On September 21, 2018, Debtor filed a voluntary petition under Chapter 7 of Title 11
 2 of the United States Code in the Central District of California. I was appointed as the Chapter 7

 3 Trustee.

 4            11.      In its Schedule A/B, Debtor listed a series of outstanding accounts receivables, in the
 5 total face amount of $2,081,409.46.

 6            12.      In Debtor's Schedule D, PWB was listed as a secured creditor with a scheduled
 7 secured debt of $950,098.16.

 8            13.      On March 11, 2019, as Dk. No. 73, I filed a motion to approve compromise with Neff
 9 Construction, to settle the outstanding accounts owed by Neff for the total amount of $114,945.91.

10            14.      After approval by the Court, I received the settlement payment of $114,945.91.
11            15.      On April 16, 2019, as Dk. No. 81, PWB filed its Notice of Interest in Accounts
12 Receivable and Proceeds and Non-Consent to Use of Cash Collateral and Demand for Segregation of

13 Cash Collateral.

14            16.      On June 10, 2019, as Dk. No. 87, I filed a second motion to approve compromise
15 with the Irvine Company, to settle the outstanding account owed by the Irvine Company for the total

16 amount of $47,941.96.

17            17.      After approval by the Court, I received the settlement payment of $47,941.96.
18            18.      On August 30, 2019, as Dk. No. 96, I filed a third motion to approve compromise
19 with the Santa Margarita Water District, to settle litigation pending in state court originating from

20 the Debtor’s prepetition lawsuit against the Water District related to a construction project.

21            19.      After approval by the Court, I received the settlement payment of $85,000.
22            20.      On October 9, 2019, as Dk. No. 109, I filed a fourth motion to approve compromise
23 with Bernards Bros., Inc., to settle the outstanding account owed by Bernards for the total amount of

24 $95,000.

25            21.      I do not anticipate any objection to this motion and expect to have an order from the
26 Court approving the compromise by the hearing on this motion.

27            22.      In total, I am holding $252,518.51, all of which I believe is subject to PWB’s blanket
28
                                                    13
                            MOTION TO APPROVE PARTIAL SUBORDINATION AGREEMENT
     4841-2819-4986, v. 1
Case 6:18-bk-18036-SY            Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02                  Desc
                                 Main Document    Page 18 of 116


 1 lien and security interest. Since the Petition Date, I have been charged $80.63 in bank fees and

 2 bonding costs for these funds. Thus, to date, I have collected $252,599.14 in accounts subject to the

 3 Lien.

 4            23.      I have sought to engage special collections counsel for a number of the remaining
 5 accounts receivables owed to the Debtor, but I cannot finalize terms of proposed compensation with

 6 special collections counsel unless the Agreement is approved and I am authorized to use a portion of

 7 PWB’s cash collateral for costs of collection.

 8            24.      On May 16, 2019, PWB filed proof of claim no. 42-1 in the total amount of
 9 $1,031,157.24, claiming a fully secured debt with an annual interest rate of 11.75% (“PWB Claim”).

10 A true and correct copy of proof of claim no. 42-1 is attached as Exhibit “5.”

11            25.      On May 15, 2019, the bankruptcy court entered an order in the bankruptcy case, case
12 no. 8:18-bk-13588-SC, of the Debtor’s former principal Timothy M. McKenna ("Mr. McKenna"),

13 authorizing PWB to apply $387,299.29 in escrowed funds ("Escrowed Funds") against any debt

14 owed to PWB. A true and correct copy of this order granting relief from the automatic stay for PWB

15 is attached as Exhibit “6.”

16            26.      I have reviewed the documents relating to PWB’s claim and the validity of its Lien,
17 including the UCC-1 filings. I am currently not aware of any basis to object to the validity of the

18 Lien.

19            27.      As for surcharge, I am confident that I would be able to prevail in litigation to
20 surcharge the Lien for my costs of collection. However, as explained in the Motion, such litigation is

21 likely to be costly and may not provide any further benefit to the Estate than what is provided in the

22 Agreement.

23            28.      I request that the Court authorize me to waive claims as to the validity of the Lien
24 provided for in the Agreement, including the allowance of postpetition interest in the event that the

25 value of the Debtor’s accounts exceed the face value of the PWB Claim, and to waive claims

26 regarding surcharge to the extent stated in the Agreement.

27            29.      As explained in the Motion, the provisions in the Agreement which may resemble a
28
                                                    14
                            MOTION TO APPROVE PARTIAL SUBORDINATION AGREEMENT
     4841-2819-4986, v. 1
10/22/2018 5:27PM      FAX      8512788283               R S WHITMORE                                    li!](J(J(J2/0002
       Case 6:18-bk-18036-SY              Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02                Desc
                                          Main Document    Page 19 of 116



         1 carve-out agreement should be approved, to the extent that those provisions are treated as a carve-out
         2 by the Court,

         3            30.        I believe that I should be authorized to make all of the Immediate Payments, which

         4 will reduce the PWB Claim and therefore minimize the ongoing accrual of postpetition interest on

         5 the PWB Claim. Thus, the Immediate Payments are in the best interest of creditors and this Estate.
         6            31.        In my sound business judgment, after reviewing all of the options available to the
         7 Estate, and through months of negotiations with PWB, I believe that approval of this Agreement is in

         8 the best interest of creditors and the Estate.
         9

        10            I declare under penalty of perjury that the foregoing is true and correct. Executed on October

        11   aa, 2019.
        12
                                                                      ROBERTS. WHITMORE
        13

        14

        15

        16

        17
        18

        19

        20
        21

        22
        23

        24

        25
        26
        27
        28

                                              TO APPROVE PARTIAL SUBORDINATION AGREEMENT
             4841-2819-4986,   v. 1
Case 6:18-bk-18036-SY   Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02   Desc
                        Main Document    Page 20 of 116




                    Exhibit “1”
Case 6:18-bk-18036-SY   Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02   Desc
                        Main Document    Page 21 of 116




                                                                     Exhibit "1"
                                                                      Page 17
Case 6:18-bk-18036-SY   Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02   Desc
                        Main Document    Page 22 of 116




                                                                     Exhibit "1"
                                                                      Page 18
Case 6:18-bk-18036-SY   Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02   Desc
                        Main Document    Page 23 of 116




                                                                     Exhibit "1"
                                                                      Page 19
Case 6:18-bk-18036-SY   Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02   Desc
                        Main Document    Page 24 of 116




                                                                     Exhibit "1"
                                                                      Page 20
Case 6:18-bk-18036-SY   Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02   Desc
                        Main Document    Page 25 of 116




                                                                     Exhibit "1"
                                                                      Page 21
Case 6:18-bk-18036-SY   Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02   Desc
                        Main Document    Page 26 of 116




                                      Signature on next page




                                                                     Exhibit "1"
                                                                      Page 22
Case 6:18-bk-18036-SY   Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02   Desc
                        Main Document    Page 27 of 116




                                     Signature on previous page




                                                                     Exhibit "1"
                                                                      Page 23
Case 6:18-bk-18036-SY   Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02   Desc
                        Main Document    Page 28 of 116




                                                                     Exhibit "1"
                                                                      Page 24
Case 6:18-bk-18036-SY   Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02   Desc
                        Main Document    Page 29 of 116




                    Exhibit “2”
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02              Desc
                           Main Document    Page 30 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 2    Filed 05/16/19   Desc Exhibit 1   Page 1 of
                                              8




                                                                                 EXHIBIT 1
                                          - 10 -

                                                                                    Exhibit "2"
                                                                                     Page 25
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02              Desc
                           Main Document    Page 31 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 2    Filed 05/16/19   Desc Exhibit 1   Page 2 of
                                              8




                                                                                 EXHIBIT 1
                                          - 11 -

                                                                                    Exhibit "2"
                                                                                     Page 26
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02              Desc
                           Main Document    Page 32 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 2    Filed 05/16/19   Desc Exhibit 1   Page 3 of
                                              8




                                                                                 EXHIBIT 1
                                          - 12 -

                                                                                    Exhibit "2"
                                                                                     Page 27
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02              Desc
                           Main Document    Page 33 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 2    Filed 05/16/19   Desc Exhibit 1   Page 4 of
                                              8




                                                                                 EXHIBIT 1
                                          - 13 -

                                                                                    Exhibit "2"
                                                                                     Page 28
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02              Desc
                           Main Document    Page 34 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 2    Filed 05/16/19   Desc Exhibit 1   Page 5 of
                                              8




                                                                                 EXHIBIT 1
                                          - 14 -

                                                                                    Exhibit "2"
                                                                                     Page 29
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02              Desc
                           Main Document    Page 35 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 2    Filed 05/16/19   Desc Exhibit 1   Page 6 of
                                              8




                                                                                 EXHIBIT 1
                                          - 15 -

                                                                                    Exhibit "2"
                                                                                     Page 30
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02              Desc
                           Main Document    Page 36 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 2    Filed 05/16/19   Desc Exhibit 1   Page 7 of
                                              8




                                                                                 EXHIBIT 1
                                          - 16 -

                                                                                    Exhibit "2"
                                                                                     Page 31
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02              Desc
                           Main Document    Page 37 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 2    Filed 05/16/19   Desc Exhibit 1   Page 8 of
                                              8




                                                                                 EXHIBIT 1
                                          - 17 -

                                                                                    Exhibit "2"
                                                                                     Page 32
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02              Desc
                           Main Document    Page 38 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 3    Filed 05/16/19   Desc Exhibit 2   Page 1 of
                                              3




                                                                                 EXHIBIT 2
                                          - 18 -

                                                                                    Exhibit "2"
                                                                                     Page 33
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02              Desc
                           Main Document    Page 39 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 3    Filed 05/16/19   Desc Exhibit 2   Page 2 of
                                              3




                                                                                 EXHIBIT 2
                                          - 19 -

                                                                                    Exhibit "2"
                                                                                     Page 34
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02              Desc
                           Main Document    Page 40 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 3    Filed 05/16/19   Desc Exhibit 2   Page 3 of
                                              3




                                                                                 EXHIBIT 2
                                          - 20 -

                                                                                    Exhibit "2"
                                                                                     Page 35
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02              Desc
                           Main Document    Page 41 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 6    Filed 05/16/19   Desc Exhibit 5   Page 1 of
                                              2




                                                                                 EXHIBIT 5
                                          - 30 -

                                                                                    Exhibit "2"
                                                                                     Page 36
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02              Desc
                           Main Document    Page 42 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 6    Filed 05/16/19   Desc Exhibit 5   Page 2 of
                                              2




                                                                                 EXHIBIT 5
                                          - 31 -

                                                                                    Exhibit "2"
                                                                                     Page 37
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02              Desc
                           Main Document    Page 43 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 7    Filed 05/16/19   Desc Exhibit 6   Page 1 of
                                              2




                                                                                 EXHIBIT 6
                                          - 32 -

                                                                                    Exhibit "2"
                                                                                     Page 38
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02              Desc
                           Main Document    Page 44 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 7    Filed 05/16/19   Desc Exhibit 6   Page 2 of
                                              2




                                                                                 EXHIBIT 6
                                          - 33 -

                                                                                    Exhibit "2"
                                                                                     Page 39
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02              Desc
                           Main Document    Page 45 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 8    Filed 05/16/19   Desc Exhibit 7   Page 1 of
                                              3




                                                                                 EXHIBIT 7
                                          - 34 -

                                                                                    Exhibit "2"
                                                                                     Page 40
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02              Desc
                           Main Document    Page 46 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 8    Filed 05/16/19   Desc Exhibit 7   Page 2 of
                                              3




                                                                                 EXHIBIT 7
                                          - 35 -

                                                                                    Exhibit "2"
                                                                                     Page 41
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02              Desc
                           Main Document    Page 47 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 8    Filed 05/16/19   Desc Exhibit 7   Page 3 of
                                              3




                                                                                 EXHIBIT 7
                                          - 36 -

                                                                                    Exhibit "2"
                                                                                     Page 42
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02              Desc
                           Main Document    Page 48 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 9    Filed 05/16/19   Desc Exhibit 8   Page 1 of
                                              2




                                          - 37 -                                 EXHIBIT 8

                                                                                    Exhibit "2"
                                                                                     Page 43
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02              Desc
                           Main Document    Page 49 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 9    Filed 05/16/19   Desc Exhibit 8   Page 2 of
                                              2




                                          - 38 -                                 EXHIBIT 8

                                                                                    Exhibit "2"
                                                                                     Page 44
Case 6:18-bk-18036-SY   Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02            Desc
                        Main Document    Page 50 of 116

    Case 6:18-bk-18036-SY   Claim 42 Part 10 Filed 05/16/19   Desc Exhibit 9   Page 1
                                           of 3




                                         - 39 -                            EXHIBIT 9

                                                                               Exhibit "2"
                                                                                Page 45
Case 6:18-bk-18036-SY   Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02            Desc
                        Main Document    Page 51 of 116

    Case 6:18-bk-18036-SY   Claim 42 Part 10 Filed 05/16/19   Desc Exhibit 9   Page 2
                                           of 3




                                         - 40 -                            EXHIBIT 9

                                                                               Exhibit "2"
                                                                                Page 46
Case 6:18-bk-18036-SY   Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02            Desc
                        Main Document    Page 52 of 116

    Case 6:18-bk-18036-SY   Claim 42 Part 10 Filed 05/16/19   Desc Exhibit 9   Page 3
                                           of 3




                                         - 41 -                            EXHIBIT 9

                                                                               Exhibit "2"
                                                                                Page 47
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02          Desc
                           Main Document    Page 53 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 11 Filed 05/16/19   Desc Exhibit 10   Page 1
                                           of 2




                                         - 42 -                           EXHIBIT 10

                                                                                Exhibit "2"
                                                                                 Page 48
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02          Desc
                           Main Document    Page 54 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 11 Filed 05/16/19   Desc Exhibit 10   Page 2
                                           of 2




                                         - 43 -                           EXHIBIT 10

                                                                                Exhibit "2"
                                                                                 Page 49
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02          Desc
                           Main Document    Page 55 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 12 Filed 05/16/19   Desc Exhibit 11   Page 1
                                           of 3




                                         - 44 -                           EXHIBIT 11

                                                                                Exhibit "2"
                                                                                 Page 50
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02          Desc
                           Main Document    Page 56 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 12 Filed 05/16/19   Desc Exhibit 11   Page 2
                                           of 3




                                         - 45 -                           EXHIBIT 11

                                                                                Exhibit "2"
                                                                                 Page 51
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02          Desc
                           Main Document    Page 57 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 12 Filed 05/16/19   Desc Exhibit 11   Page 3
                                           of 3




                                         - 46 -                           EXHIBIT 11

                                                                                Exhibit "2"
                                                                                 Page 52
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02          Desc
                           Main Document    Page 58 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 13 Filed 05/16/19   Desc Exhibit 12   Page 1
                                           of 3




                                         - 47 -                           EXHIBIT 12

                                                                                Exhibit "2"
                                                                                 Page 53
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02          Desc
                           Main Document    Page 59 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 13 Filed 05/16/19   Desc Exhibit 12   Page 2
                                           of 3




                                         - 48 -                           EXHIBIT 12

                                                                                Exhibit "2"
                                                                                 Page 54
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02          Desc
                           Main Document    Page 60 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 13 Filed 05/16/19   Desc Exhibit 12   Page 3
                                           of 3




                                         - 49 -                           EXHIBIT 12

                                                                                Exhibit "2"
                                                                                 Page 55
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02          Desc
                           Main Document    Page 61 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 14 Filed 05/16/19   Desc Exhibit 13   Page 1
                                           of 2




                                         - 50 -                           EXHIBIT 13

                                                                                Exhibit "2"
                                                                                 Page 56
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02          Desc
                           Main Document    Page 62 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 14 Filed 05/16/19   Desc Exhibit 13   Page 2
                                           of 2




                                         - 51 -                           EXHIBIT 13

                                                                                Exhibit "2"
                                                                                 Page 57
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02          Desc
                           Main Document    Page 63 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 15 Filed 05/16/19   Desc Exhibit 14   Page 1
                                           of 3




                                         - 52 -                           EXHIBIT 14

                                                                                Exhibit "2"
                                                                                 Page 58
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02          Desc
                           Main Document    Page 64 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 15 Filed 05/16/19   Desc Exhibit 14   Page 2
                                           of 3




                                         - 53 -                           EXHIBIT 14

                                                                                Exhibit "2"
                                                                                 Page 59
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02          Desc
                           Main Document    Page 65 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 15 Filed 05/16/19   Desc Exhibit 14   Page 3
                                           of 3




                                         - 54 -                           EXHIBIT 14

                                                                                Exhibit "2"
                                                                                 Page 60
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02          Desc
                           Main Document    Page 66 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 16 Filed 05/16/19   Desc Exhibit 15   Page 1
                                           of 2




                                         - 55 -                           EXHIBIT 15

                                                                                Exhibit "2"
                                                                                 Page 61
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02          Desc
                           Main Document    Page 67 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 16 Filed 05/16/19   Desc Exhibit 15   Page 2
                                           of 2




                                         - 56 -                           EXHIBIT 15

                                                                                Exhibit "2"
                                                                                 Page 62
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02          Desc
                           Main Document    Page 68 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 17 Filed 05/16/19   Desc Exhibit 16   Page 1
                                           of 2




                                         - 57 -                           EXHIBIT 16

                                                                                Exhibit "2"
                                                                                 Page 63
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02          Desc
                           Main Document    Page 69 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 17 Filed 05/16/19   Desc Exhibit 16   Page 2
                                           of 2




                                         - 58 -                           EXHIBIT 16

                                                                                Exhibit "2"
                                                                                 Page 64
Case 6:18-bk-18036-SY   Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02   Desc
                        Main Document    Page 70 of 116




                    Exhibit “3”
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02              Desc
                           Main Document    Page 71 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 4    Filed 05/16/19   Desc Exhibit 3   Page 1 of
                                              6




                                          - 21 -                                 EXHIBIT 3

                                                                                    Exhibit "3"
                                                                                     Page 65
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02              Desc
                           Main Document    Page 72 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 4    Filed 05/16/19   Desc Exhibit 3   Page 2 of
                                              6




                                          - 22 -                                 EXHIBIT 3

                                                                                    Exhibit "3"
                                                                                     Page 66
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02              Desc
                           Main Document    Page 73 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 4    Filed 05/16/19   Desc Exhibit 3   Page 3 of
                                              6




                                          - 23 -                                 EXHIBIT 3

                                                                                    Exhibit "3"
                                                                                     Page 67
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02              Desc
                           Main Document    Page 74 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 4    Filed 05/16/19   Desc Exhibit 3   Page 4 of
                                              6




                                          - 24 -                                 EXHIBIT 3

                                                                                    Exhibit "3"
                                                                                     Page 68
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02              Desc
                           Main Document    Page 75 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 4    Filed 05/16/19   Desc Exhibit 3   Page 5 of
                                              6




                                          - 25 -                                 EXHIBIT 3

                                                                                    Exhibit "3"
                                                                                     Page 69
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02              Desc
                           Main Document    Page 76 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 4    Filed 05/16/19   Desc Exhibit 3   Page 6 of
                                              6




                                          - 26 -                                 EXHIBIT 3

                                                                                    Exhibit "3"
                                                                                     Page 70
Case 6:18-bk-18036-SY   Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02   Desc
                        Main Document    Page 77 of 116




                    Exhibit “4”
Case 6:18-bk-18036-SY   Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02   Desc
                        Main Document    Page 78 of 116




                                                                      Exhibit "4"
                                                                       Page 71
Case 6:18-bk-18036-SY   Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02   Desc
                        Main Document    Page 79 of 116




                                                                      Exhibit "4"
                                                                       Page 72
Case 6:18-bk-18036-SY   Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02   Desc
                        Main Document    Page 80 of 116




                                                                     Exhibit "4"
                                                                      Page 73
Case 6:18-bk-18036-SY   Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02   Desc
                        Main Document    Page 81 of 116




                    Exhibit “5”
    Case 6:18-bk-18036-SY                            Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02                                                          Desc
                                                     Main Document    Page 82 of 116

          Case 6:18-bk-18036-SY                       Claim 42             Filed 05/16/19                Desc Main Document                        Page 1 of 9
  Fill in this information to identify the case:

  Debtor 1         McKenna General Engineering, Inc.

  Debtor 2
  (Spouse, if filing)

  United States Bankruptcy Court for the:       Central     District of        California
                                                                                      (State)
  Case number           6:18-bk-18036-SY



Official Form 410
 Proof of Claim                                                                                                                                                       04/16
 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current
   creditor?                    Pacific Western Bank, a California state-chartered bank
                                Name of the current creditor (the person or entity to be paid for this claim)

                                Other names the creditor used with the debtor

2. Has this claim been                 No
   acquired from
   someone else?                       Yes. From whom?


3. Where should notices Where should notices to the creditor be sent?                                           Where should payments to the creditor be sent? (if
   and payments to the                                                                                          different)
   creditor be sent?    A. Kenneth Hennesay, Jr., Esq.
   Federal Rule of              Allen Matkins Leck Gamble Mallory & Natsis LLP
   Bankruptcy                   Name                                                                              Name

   Procedure (FRBP)             1900               Main Street, Fifth Floor
   2002(g)                      Number           Street                                                           Number      Street
                                Irvine                              CA                  92614-7321
                                City                             State                     ZIP Code               City                            State                 ZIP Code

                                                                                                                  Contact
                                Contact phone             (949) 553-1313                                          phone
                                                                                                                  Contact
                                Contact email    khennesay@allenmatkins.com                                       email




                                  Uniform claim identifier for electronic payments in chapter 13 (if you use one):




4. Does this claim amend                 No
   one already filed?                   Yes. Claim number on court claims registry (if known)                                          Filed on
                                                                                                                                                   MM / DD / YYYY



5. Do you know if anyone                 No
   else has filed a proof                Yes. Who made the earlier filing?
   of claim for this claim?


   Official Form 410                                                         Proof of Claim                                                                  page 1
                                                                                                                                                    American LegalNet, Inc.
                                                                                                                                                    www.FormsWorkFlow.com


                                                                                                                                                     Exhibit "5"
                                                                                                                                                      Page 74
     Case 6:18-bk-18036-SY                         Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02                                                Desc
                                                   Main Document    Page 83 of 116

         Case 6:18-bk-18036-SY                      Claim 42          Filed 05/16/19            Desc Main Document                     Page 2 of 9


 Part 2:     Give Information About the Claim as of the Date the Case Was Filed

 6. Do you have any number              No
    you use to identify the
    debtor?                             Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:          202-1


7. How much is the claim?           $              1,031,157.24              . Does this amount include interest or other charges?
                                                                                   No
                                                                                   Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                       charges required by Bankruptcy Rule 3001(c)(2)(A).

8. What is the basis of the       Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                  Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                  Limit disclosing information that is entitled to privacy, such as health care information.


                                  Business loan

 9. Is all or part of the claim         No
    secured?
                                        Yes. The claim is secured by a lien on property.

                                               Nature of property:
                                                 Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                               Attachment (Official Form 410-A) with this Proof of Claim.
                                                  Motor vehicle
                                                                            Personal property described in Commercial Security
                                                  Other. Describe:          Agreement dated September 26, 2012


                                              Basis for perfection:        UCC-1 Financing Statement
                                              Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                              example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                              been filed or recorded.)



                                              Value of property:                           $    2,295,273.70
                                               Amount of the claim that is secured:        $    1,031,157.24

                                              Amount of the claim that is unsecured: $               0.00          (The sum of the secured and unsecured
                                                                                                                    amounts should match the amount in line 7.)



                                              Amount necessary to cure any default as of the date of the petition:             $         0.00


                                              Annual Interest Rate (when case was filed)       11.75 %
                                                  Fixed
                                                  Variable



10. Is this claim based on a            No
    lease?
                                        Yes. Amount necessary to cure any default as of the date of the petition.              $


11. Is this claim subject to a          No
    right of setoff?
                                        Yes. Identify the property:




   Official Form 410                                                    Proof of Claim                                                           page 2
                                                                                                                                        American LegalNet, Inc.
                                                                                                                                        www.FormsWorkFlow.com


                                                                                                                                         Exhibit "5"
                                                                                                                                          Page 75
Case 6:18-bk-18036-SY     Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02           Desc
                          Main Document    Page 84 of 116

  Case 6:18-bk-18036-SY   Claim 42     Filed 05/16/19   Desc Main Document   Page 3 of 9




                          Kimberlee von Disterlo




                                                                               Exhibit "5"
                                                                                Page 76
             Case 6:18-bk-18036-SY                  Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02              Desc
                                                    Main Document    Page 85 of 116
               Case 6:18-bk-18036-SY              Claim 42    Filed 05/16/19     Desc Main Document      Page 4 of 9



                      1                             UNITED STATES BANKRUPTCY COURT
                      2                              CENTRAL DISTRICT OF CALIFORNIA
                      3                                        SANTA ANA DIVISION
                      4                               ATTACHMENT TO PROOF OF CLAIM
                      5                                      Case No: 6:18-bk-18036-SY
                      6               Debtor:      McKenna General Engineering, Inc. ("Debtor")
                      7               Claimant:    Pacific Western Bank, a state-chartered bank ("Pacific Western")
                      8               Pacific Western asserts the following claim against Debtor's bankruptcy estate:
                      9 I.            Basis for Claim.
                     10               A.    The Loan.
                     11               Pacific Western, who is successor by merger to California United Bank ("Original
                     12 Lender"), is the current owner and holder of that certain Loan (the "Loan") made by
                     13 Original Lender to McKenna General Engineering, Inc. ("Borrower") pursuant to a
                     14 Business Loan Agreement made and executed between them dated September 26, 2012
                     15 (the "Loan Agreement"). A true and correct copy of the Loan Agreement (redacted in
                     16 accordance with Federal Rule of Bankruptcy Procedure 9037(a)) is attached hereto and
                     17 incorporated herein as Exhibit "1."
                     18               The Loan is evidenced by that certain Promissory Note in the original principal
                     19 amount of $1,000,000.00 executed by Borrower of even date with the Loan Agreement
                     20 (the "Note"). A true and correct copy of the Note (redacted in accordance with Federal
                     21 Rule of Bankruptcy Procedure 9037(a)) is attached hereto and incorporated herein as
                     22 Exhibit "2."
                     23               To secure the obligations under the Loan and the Note and as part of the same
                     24 transaction, Debtor executed in favor of Pacific Western that certain Commercial Security
                     25 Agreement of even date with the Note (the "Security Agreement"), by which Debtor
                     26 granted to Pacific Western a security interest in all of the "Collateral" as defined therein.
                     27 A true and correct copy of the Security Agreement (redacted in accordance with Federal
                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP
                            1219941.01/OC
                                                                           -4-

                                                                                                            Exhibit "5"
                                                                                                             Page 77
            Case 6:18-bk-18036-SY                 Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02                Desc
                                                  Main Document    Page 86 of 116
               Case 6:18-bk-18036-SY              Claim 42   Filed 05/16/19     Desc Main Document     Page 5 of 9



                      1 Rule of Bankruptcy Procedure 9037(a)) is attached hereto and incorporated herein as
                      2 Exhibit "3."
                      3               On or about October 3, 2012 Pacific Western filed its UCC-1 Financing Statement
                      4 with the Office of the Secretary of State of California, perfecting is security interest in the
                      5 Collateral. Pacific Western filed a Continuation of the UCC-1 Financing Statement on
                      6 May 12, 2017. True and correct copies of the UCC-1 Financing Statement and
                      7 Continuation are attached hereto collectively and incorporated herein as Exhibit "4."
                      8               On November 13, 2012, Borrower and Original Lender entered into that certain
                      9 "Amendment Number One to Business Loan Agreement" ("Amendment One"). A true
                     10 and correct copy of Amendment One (redacted in accordance with Federal Rule of
                     11 Bankruptcy Procedure 9037(a)) is attached hereto and incorporated herein as Exhibit "5."
                     12               On August 22, 2013, Borrower and Original Lender entered into that certain
                     13 "Amendment Number Two to Business Loan Agreement" ("Amendment Two"). A true
                     14 and correct copy of Amendment Two (redacted in accordance with Federal Rule of
                     15 Bankruptcy Procedure 9037(a)) is attached hereto and incorporated herein as Exhibit "6."
                     16               The Loan, as amended by Amendment One and Amendment Two, is evidenced by
                     17 an amended and restated Promissory Note in the original principal amount of
                     18 $1,000,000.00 executed by Borrower of even date with Amendment Two (the "First
                     19 Amended Note"). A true and correct copy of the First Amended Note (redacted in
                     20 accordance with Federal Rule of Bankruptcy Procedure 9037(a)) is attached hereto and
                     21 incorporated herein as Exhibit "7."
                     22               On August 5, 2014, Borrower and Original Lender entered into that certain
                     23 "Amendment Number Three to Business Loan Agreement" ("Amendment Three"). A
                     24 true and correct copy of Amendment Three (redacted in accordance with Federal Rule of
                     25 Bankruptcy Procedure 9037(a)) is attached hereto and incorporated herein as Exhibit "8."
                     26               The Loan, as amended by Amendment Three, is evidenced by an amended and
                     27 restated Promissory Note in the original principal amount of $1,300,000.00 executed by
                     28 Borrower of even date with Amendment Three (the "Second Amended Note"). A true
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP
                            1219941.01/OC
                                                                          -5-

                                                                                                         Exhibit "5"
                                                                                                          Page 78
            Case 6:18-bk-18036-SY                 Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02               Desc
                                                  Main Document    Page 87 of 116
               Case 6:18-bk-18036-SY              Claim 42    Filed 05/16/19     Desc Main Document     Page 6 of 9



                      1 and correct copy of the Second Amended Note (redacted in accordance with Federal Rule
                      2 of Bankruptcy Procedure 9037(a)) is attached hereto and incorporated herein as
                      3 Exhibit "9."
                      4               On July 27, 2015, Borrower and Original Lender entered into that certain
                      5 "Amendment Number Four to Business Loan Agreement" ("Amendment Four"). A true
                      6 and correct copy of Amendment Four (redacted in accordance with Federal Rule of
                      7 Bankruptcy Procedure 9037(a)) is attached hereto and incorporated herein as
                      8 Exhibit "10."
                      9               The Loan, as amended by Amendment Four, is evidenced by an amended and
                     10 restated Promissory Note in the original principal amount of $1,600,000.00 executed by
                     11 Borrower of even date with Amendment Four (the "Third Amended Note"). A true and
                     12 correct copy of the Third Amended Note (redacted in accordance with Federal Rule of
                     13 Bankruptcy Procedure 9037(a)) is attached hereto and incorporated herein as
                     14 Exhibit "11."
                     15               Borrower executed a further amended and restated Promissory Note on July 12,
                     16 2016 (the "Fourth Amended Note"). A true and correct copy of the Fourth Amended
                     17 Note (redacted in accordance with Federal Rule of Bankruptcy Procedure 9037(a)) is
                     18 attached hereto and incorporated herein as Exhibit "12."
                     19               On October 20, 2016, Borrower and Original Lender entered into that certain
                     20 "Amendment Number Five to Business Loan Agreement" ("Amendment Five"). A true
                     21 and correct copy of Amendment Five (redacted in accordance with Federal Rule of
                     22 Bankruptcy Procedure 9037(a)) is attached hereto and incorporated herein as
                     23 Exhibit "13."
                     24               The Loan, as amended by Amendment Five, is evidenced by an amended and
                     25 restated Promissory Note in the original principal amount of $1,600,000.00 executed by
                     26 Borrower of even date with Amendment Five (the "Fifth Amended Note"). A true and
                     27 correct copy of the Fifth Amended Note (redacted in accordance with Federal Rule of
                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP
                            1219941.01/OC
                                                                           -6-

                                                                                                          Exhibit "5"
                                                                                                           Page 79
             Case 6:18-bk-18036-SY                 Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02                Desc
                                                   Main Document    Page 88 of 116
               Case 6:18-bk-18036-SY               Claim 42   Filed 05/16/19      Desc Main Document      Page 7 of 9



                      1 Bankruptcy Procedure 9037(a)) is attached hereto and incorporated herein as
                      2 Exhibit "14."
                      3               On October 11, 2017, Borrower and Original Lender entered into that certain
                      4 "Amendment Number Six to Business Loan Agreement" ("Amendment Six"). A true and
                      5 correct copy of Amendment Six (redacted in accordance with Federal Rule of Bankruptcy
                      6 Procedure 9037(a)) is attached hereto and incorporated herein as Exhibit "15."
                      7               In connection with Amendment Six, Borrower executed a Change In Terms
                      8 Agreement, a true and correct copy of which (redacted in accordance with Federal Rule of
                      9 Bankruptcy Procedure 9037(a)) is attached hereto and incorporated herein as
                     10 Exhibit "16."
                     11               The documents set forth in Exhibits 1 through 16 hereof, and all other documents
                     12 evidencing the Loan, are referred to hereinafter collectively as the "Loan Documents."
                     13               B.     Debtor's Defaults Under the Loan Documents and Guaranties.
                     14               Borrower failed to pay the Loan upon its maturity on January 1, 2018.
                     15 Accordingly, on March 22, 2018, Pacific Western filed an action against Borrower and
                     16 Debtor in the Superior Court for the State of California, County of Los Angeles, Case
                     17 No: LC107024 (the "Collection Action").
                     18               In the Collection Action, Pacific Western obtained a Right to Attach Order and
                     19 Order for Issuance of Writ of Attachment, entered on May 24, 2018 (the "Attachment
                     20 Order"). A true and correct copy of the Attachment Order is attached hereto and
                     21 incorporated herein as Exhibit "17."
                     22               In the Collection Action, Pacific Western, Debtor, and other interested parties
                     23 entered into that certain Stipulation for Sale of Properties and Allocation of Net Proceeds,
                     24 which was approved by order of the court in the Collection Action entered on August 23,
                     25 2018 (the "Proceeds Order"). A true and correct copy of the Proceeds Order is attached
                     26 hereto as Exhibit "18." The Proceeds Order provides, among other things, for the
                     27 Debtor's receivables and application of the proceeds collected to satisfaction of the Loan.
                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP
                            1219941.01/OC
                                                                            -7-

                                                                                                              Exhibit "5"
                                                                                                               Page 80
             Case 6:18-bk-18036-SY                 Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02                Desc
                                                   Main Document    Page 89 of 116
               Case 6:18-bk-18036-SY               Claim 42    Filed 05/16/19     Desc Main Document      Page 8 of 9



                      1 II.           Amount of Claim.
                      2               As of September 21, 2018 ("Petition Date"), the outstanding Loan balance and
                      3 amount due under the Loan Documents (the "Indebtedness") was $1,031,157.24
                      4 consisting of: (i) $950,098.16 in outstanding principal; and (ii) $81,059.08 in accrued and
                      5 outstanding interest calculated at the default rate of 11.25% per annum from and after
                      6 February 14, 2018, 11.50% per annum from and after March 22, 2018, and 11.75% from
                      7 and after June 14, 2018. Interest continues to accrue on a per diem basis at the default rate
                      8 of $323.29. Additionally, certain attorneys' fees and expenses and other costs were
                      9 incurred but unpaid as of the Petition Date, and continue to accrue in accordance with the
                     10 Loan Documents.
                     11 III.          Estimate of Value of the Property and Secured Claim.
                     12               Debtor's bankruptcy Schedule A/B (Doc. 10) estimates that the total aggregate value
                     13 of all of the Debtor's personal property is $2,295,273.70 (with $2,081,409.46 of that value
                     14 comprised of accounts receivable) and that the amount of Pacific Western's claim secured
                     15 by the Debtor's personal property is $950,098.16. Pacific Western does not admit that
                     16 Debtor's estimate of value of its personal property is accurate, and reserves its rights with
                     17 respect to such value. Based on the Loan Documents, Attachment Order, and Proceeds
                     18 Order, Pacific Western asserts a secured claim in the amount equal to the value of the
                     19 Collateral, up to the full amount of the Indebtedness.
                     20               Pacific Western reserves the right to amend this proof of claim or otherwise assert a
                     21 secured claim in amount reflecting the value of any Collateral as determined by the Court
                     22 or any changes in value which may occur during the pendency of the bankruptcy case.
                     23 IV.           Reservation of Rights.
                     24               Pacific Western reserves the right to amend, modify, or supplement this Proof of
                     25 Claim in any respect. Each and every document attached to this Proof of Claim is
                     26 incorporated by and is hereby made a part of this Proof of Claim. By filing this Proof of
                     27 Claim, Pacific Western intends to provide notice to the Debtor: (a) of any and all claims
                     28 set forth in the exhibits attached hereto and the documents incorporated herein and therein;
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP
                            1219941.01/OC
                                                                            -8-

                                                                                                             Exhibit "5"
                                                                                                              Page 81
             Case 6:18-bk-18036-SY                 Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02                Desc
                                                   Main Document    Page 90 of 116
               Case 6:18-bk-18036-SY               Claim 42   Filed 05/16/19      Desc Main Document      Page 9 of 9



                      1 (b) that Pacific Western asserts any and all of its rights and remedies it has at law or under
                      2 the operative documents; and (c) nothing in this Proof of Claim is intended to limit Pacific
                      3 Western's rights against any third party or any rights it has at law or in equity. This Proof
                      4 of Claim is not intended to be, and shall not be constructed as: (a) an election of remedies;
                      5 (b) a waiver of any right to the determination of any issue or matter by a jury; (c) a waiver
                      6 of any past, present, or future defaults; (d) a waiver of any right to any security or any
                      7 other right or rights with respect to any claim it has or may have against Debtor or any
                      8 other person or persons; or (e) a waiver or limitation of any rights at law or equity,
                      9 remedies, claims or interests of Pacific Western.
                     10               All notices regarding this Proof of Claim should be sent to counsel for Pacific
                     11 Western at the following address: Allen Matkins Leck Gamble Mallory & Natsis LLP,
                     12 Attention A. Kenneth Hennesay, Jr., 1900 Main Street, Fifth Floor, Irvine, California
                     13 92614 7321, or to facsimile number (949) 553-8354, or to Mr. Hennesay's email address:
                     14 khennesay@allenmatkins.com.
                     15
                     16
                     17
                     18
                     19
                     20
                     21
                     22
                     23
                     24
                     25
                     26
                     27
                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP
                            1219941.01/OC
                                                                            -9-

                                                                                                             Exhibit "5"
                                                                                                              Page 82
Case 6:18-bk-18036-SY   Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02   Desc
                        Main Document    Page 91 of 116




          EXHIBITS 1 THROUGH 16
          HAVE BEEN OMITTED




                                                                     Exhibit "5"
                                                                      Page 83
  Case 6:18-bk-18036-SY                                   Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02                                                           Desc
                                                          Main Document    Page 92 of 116

               Case 6:18-bk-18036-SY                           Claim 42 Part 18 Filed 05/16/19                       Desc Exhibit 17               Page 1
                                                                              of 4                                                                                     Af-125
                            WrIHOUT ATTORNEY (lrano. g,ar. dar numbor,   8N add'!st):                                               FOR COURT USE O'VTY
ATTO.RNEY            P RW
      Aldn M. Mirmdn, Esq., SBN 66883
      Mirman; Bubman & Nahmias, LLP
      2 1 860 Burbank Boulevard, Suite 360
      Woodland Hil cA91367

 E.l',iAlL   rc0RES8 (op/'o/,6t):                                   .com                                                       ounly cf Los Angales
 ATTORNEY FOR
                                                                                  BANK
                                                                                                                               MAY Z 4?018
SUPERTOR COURT OF CAL|FORNIA, COUNW OF
              STREETAODRESS:        6230 SylmarAve.                                                                Shorri R, Caner, t^6cuuve Offlcer/Clerk
                               623 Sylmar Ave.
              liLAlLlNG A00RESS:                                                                                                                      0spuly
                                                                                                                                 Ani 0astaryin
             CITY AND AP CODEI Van Nuys, CA 91401
                                    Northwest District
     PIJINTIFF:
                    ERANCH N^Mg
                                                                                                                                                         I              t
                                                                                                                                                          I
                                                                                                                                                             t
                                                                                                                                                                     =o
                                                                                                                                                                     z. o-
     DEFENDANT:            MCKENNA GENERAL ENCINEERING, INC,,                                       Ct AI.                                                           |aO
                                                                                                                CASE NUMEER:                                          4
   EX
                                                                                                                LCt07024                                              aa
  trt RIGHT TO ATTACH ORDER AND ORDER FOR ISSUANCE OF
      wRrT oF ATTACHMENT (RESIDENT)
  trt ORDER FOR ISSUANCE OF ADDITIONAL WRIT OF ATTACHMENT
                                                  or                   (name):       PACIFIC WESTERN BANK, a Colifomio stoto*hartqtrd bsnk'
1. The               and supporling
     for an ex parte        right to attach order and order for issuance of writ of attachment
                                    s|                                                                               f]
                                                                                                     order for igsuance of an additional

     writ of attachment    has been considered bY the court.
                                                                                        FINDINGS
2.   THE COURT FINDS
                                                                                                                       a El
     a. Defendant (specify     nane):             TIMOTHY M'        MCKENNA                    is            naturalpe6on
             l-l partnersfrp ' fr unincorporated                 assoclation [-l corporatlon l-l
                                                                                          other (speclfy):
                                                                   which an attachment may be lssued under
      b. The claim upon whici'lhe application is based is one upon
             e
             cooe oi cirtt procedure seclion 483.01           wetfare0 El
                                                                      and.lnstitullons code seclion 'l 5657'01 '
      c.Plaintiffhasestabllshedtheprobablevalidityoftheclaimuponwhichtheattachmentlsbased. appllcation is based'
      d. The attachment is not soughtfor a purpose other than recovery on lhe clalm upon whlch the
                                                           greater than zero'
      e. The amount to be secured by tho attachment is
                                                                                 property sought to be attached, or the portions thereof
      f. The affidavit or declaratlon accompanyingihe aiprrcarlon shows that the
         to be speclfied ln the writ, are not exempt ftom attachment'
                                                                            3b, ls not exempt from
      g. The portion of thg propsrly sought lo be attached descdbed ln item
         attachment.
      h, An undertaking ln the amount               of: E       10,000.00 is requlred before a writ shall issue' and plaintiff
             E tras Sl    tras not filed an underlaking in that amount' - .
                                                                                                              matter can be heard on notice'
      l. Great or ineparable injury will result to tn" ptintitr it issuance of the order is delayed until the
             based on the following:
             it g
                5
             r ''    There is a da-nger that the property sought to be attached
                                                                                        would be
                                                                                              m
                                                                                          subslantially impaired in value.
                     irl         m concealed.                         than
                                                                                 (b)
                                                                             concealmenl   or impairment in value'
                     id          Ei
                               made unavaitable to levy by other
                                                  pay          underrying    the requested   attachment and is insolvent as defined in code of civil
                                                          debt
             (z)    EDefendant has failed to
                     procedure section 4g5.010(bx2l,
                                                      the
                                                                                          or                                                  and thal
                                                               r.t rorttr in the affidavit declaration liled in support of lhis appllcallon, debls
                                                            ""          dobts   and  the basis  for plaintiffs determination thal thB defendant's
                     specilies the defondanl,s known Lnorrprt"J
                     are undisPuted.
                                                                              pursuant to division 6 of the commercial code with respect
              (3)    A bulk saies notice was recorded and published
                    El
                     lo a bulk transfer by the defendant'
                                                                         provlslons of Buslness and Professions code sectlon 24074 wilh
              (4)   EAn escrow has been opened pursuanr to the
                                                                            license. The llquor license number ls:
                      respect to t].t" r.r" uy itre defenoant  of a liquor
                                                                   b;?;ffi;;li"qrri.t               cdndition is deterioratine as evidenced by numerous
              (s)   E     other crrcumstances (speciry):
                                                                    i.r'"l,iiffiaiitdb";;il;;;tt;dtheirdispositionof                                  assde.
                                                                                                                                                       pursuanl to
                     A Right to Attach Order was issued on
                                                             (date):
       i. El                             procedure        iriios'0 (on notice)                l-l
                                                                                              -t     n^..o of
                                                                                                     code     civil Frnnedr
                                                                                                           ar otwit Procedure seclion 485'220 (ex parto)
                     l-l code of   civil           ,"aion
                                                                                                                                                                                       ol2
        k.    E       other (sPacifY):
                                                                                                                                                                 Codo ot ClvU
                                                                                                                                                                                  'l
                                                                                                                                                                                Pto€dut.
 Fom                             Uto                       P                                                                                       6e .ELG!o. 485.0t0 ol 3oq.:
        Aoga{Latd lba Optlonsl
                                                                                 (RESIDENT) (Attachment)                                    Wrttso f,-lnrtiMiorio Co(h. g 15057.01
                                                  ISSUANCE OF WRIT OF ATTACHMENT                                                                                   vtw.@ulinlo.cS,gov
  'x+lit!?im,ilq:ffiBi"
 aEn'I Esssntlal                                                                                                          PACIFIC WESTERN BANK
 !ffi         lfflrorm'
                                                                                                                                          EXHIBIT 17
                                                                                         - 59 -

                                                                                                                                                   Exhibit "5"
                                                                                                                                                    Page 84
     Case 6:18-bk-18036-SY                           Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02                                           Desc
                                                     Main Document    Page 93 of 116

               Case 6:18-bk-18036-SY                   Claim 42 Part 18 Filed 05/16/19                      Desc Exhibit 17             Page 2
                                                                      of 4                                                                       AT-{25

     PA                WESTERN BANK v. MCKENNA, et al.                                               LCt07024

                                                                           ORDER
3.   THECOURTORDERS

           in the amount       of   0        1,415   38.62

     -
     b. The clerk shall        lssua El a writ of attachment E an additional wril of atlachment in ths amount stated ln ilem 3a
                                                                                               10,000'00
          triffi;il- proilrty covered uy a uutr sates notice with respect to a
                                  B,ifrm"fillngofanundertakinsintheamountof:$ bulk transfer by defendant or the proceeds of the
          iig i"itns property, desoribed as follows (specify):
                       sale of such




                                                                                                                                        license number
           (z) El for plalntiffs pro rata share of proceeds from an escrow ln which defendant's llquor llcenee ls sold. The
                  le (specitY):
                                                                          person for which a method of levy ls provided.
           (3) ga f"iJ.V pioperty of a defendant who ls not a nalural
           (4) Ei f", pr6p'.rty of a defendant who   is a natural person subjec't to attachment under Code of Clvll Procedure
                       sectlon 487.01 0 (sPecltY):

                       Please see       Exhibit "A" attached hereto'




                                                                    possession of
      c.
      -'      Et    Defendant shall transfer to tho levying officer
                       g                                  in oetenolnts   possession of title to any property described in item 3b'
              -     (rt         oo"um"ntary     evidence
                                                                                                  owed to defendant described in item 3b'
                    (z)El  "ny  oocurentary evldence ln defendant's possession ol debt
                                                                                   (spegtfl:
                    iaifri "ny
                           tne tottowing   property ln defendant's  possession
                                                                                       inye.ltory, including but not.limited to the auction proceeds held
                           (a) a[ proceeds of disposition
                                                             -orrrrbii.qurpr.l!.or               of reat propirty in wlrich rimothy McKenna and/or the
                           uy nitcrrie iios, nurtionr., ; tul
                                                                                           not limited to property of Sitework Development company'
                                                                "ir-pro-.,1"i'ioiaispositibn
                                                                 i"ui** includingbut
                            McKenna Family Trust have                               -wtrictr
                                                            ""y      a;b;ion                 are entities ovmed or partially owned by Timothy McKenna;
                            LLc, 102 N. Howard, Inc., and MCi
                                                                                  and (d)  all other cash in the poisession, custody or conbol of rimothy
                            (o) all collections of MGE
                                                         "..o*Oi.r.ivable;             that  which   is necessary for basic and ordinary living expenses of
                            McKenna and/or the McKenna Family Tnrsf except
                               Timothy McKenna.

                   NOTICE TO DEFEN DANT: FAI LU RE TO COMPLY
                                                              WTH THIS ORDER MAY SUBJECT YOU TO ARREST
                   ANO PUNISHMENT FOR CONTEMPT      OF COURT.


         O.   El    Ottrer (sPecifY):



                                                                      1
         e. Tolal number of boxes checked in item 3:
                                                                                                                                                         PO
 Date:
                               C u'rY                                                                               (JUDTCnL OFFICERI

                                                                                                                                                    Pzga2ot2
 AT425 lR.v' JulY    t.20t0l                                               (RESIDENT) (Attachment)
 al:n'tEss€ntlal                             ISSUANCE OF WRIT OFATTACHMENT
                                                                                                              PACMIC WESTERN BANK
 YbH"'lf4Ee@


                                                                                                                               EXHIBIT 17
                                                                            - 60 -

                                                                                                                                        Exhibit "5"
                                                                                                                                         Page 85
Case 6:18-bk-18036-SY         Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02                         Desc
                              Main Document    Page 94 of 116

   Case 6:18-bk-18036-SY         Claim 42 Part 18 Filed 05/16/19                Desc Exhibit 17   Page 3
                                                of 4



                                               EXHIBIT ".A''
                 zusht to Attach Order and Orderfor    IssuranlgllWltjIAnachmelt

                                              natural person that is subject to attachment
     3.c.(2) Property of a Defendant who is a
                                                            487.010 described as follows
             under Code of Civil Procedure ('CCP") Siction
             (specify):

            l.   Real Property [CCP Section 487'010(c)
                                                           (l)]   as follows:

                                                       CA 92808
                  1059 S. Summer Breeze Lane, Anaheim'

                     See attached legat descriPtion'

                                                          487.010(c) (7), including, but not
            z.    Money and deposit accounts [CCP Section
                  limited to:

                  Anyandallaccounts,includingb$lot.l.imitedtomoneymarketandchecking
                                                        held in the name of Defendants' or any of
                  accounts, at any ftnuiriA-i**if,rtion
                  them
                                                                              arising out of
             3. Accounts      receivable, chattel-Paper, General-.Intangibles        but not
                                                        487.0910(c) (2)1,  including
                  Defendants, U*in.rl |CCF S..tion
                  limited to the following:
                                                     the limited liability company' sitework
             4,   Defendants' membership interest.in
                                                      is owned by the McKenna Family Trust
                  Developme" c#;-y,'Lle.ryry+                            is a Trustee. Timothy
                  andzzyzzx cifr'r"irt, orwnicn Timothy McKenna
                  McKennaisthemanagerofSiterryorko'*top*'ntCompany,LLC,andhis
                  memUerstrip interest is a general
                                                    intangible'


             5.Anyothernon.exemptproperty.subjeclto^attachmentinpossessionof
                Defendants  l!1i;'Lf'J 6y tititJ iuttits for the benefit of Defendants
                               "t Section
                   puttu*t to CCP           487'010(c)'




                                      't




                                                {00s09684} I


                                                                                            EXHIBIT 17
                                                  - 61 -

                                                                                                  Exhibit "5"
                                                                                                   Page 86
Case 6:18-bk-18036-SY                         Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02                                                                     Desc
                                              Main Document    Page 95 of 116

       Case 6:18-bk-18036-SY                     Claim 42 Part 18 Filed 05/16/19                                 Desc Exhibit 17                       Page 4
                                                                of 4

                                                     SureTec Insurance Company
                                                                          Superior
                                 ln The                                                                                     Court


                                                                                                                                       coj.tF9RMED COPY
                                                     State of                   California                                               oRtctNAt fllr-o
                                                                                                                                     ^
                                                                                                                                     ' t313ilc.1,'Xf !::'1"?'J, "

                                                                                                                                              l,1AY   21   Z01U

                                                                                                                               Sh0rri R. Cartor, Exouuuvs uJllcer/Clerk
                                                                                                                                         By; Ani Dastaryan, Deputy
       PACIFIC WESTERN BANK a California state.chartered
       banlc, successor by morger to California United Bank
                                                                                                            Case No.         LC107024
            Plaintiff(s),
                                                                                                                 UNDERTAKING UNDER
       v                                                                                                         sEcTtoN 48e.2r0 c.c.P.
                                                                                                                  SurcTcc lnsumnco Compony
       MCKENNA GENERAL ENCINEERING,INC., et al.                                                                5555 Gardcn Grovc Elvd Suitc 275
                                                                                                                       Westminslcr, CA 92683
             Defendants.
                                                      c
                                                          G
                                      PAclFlc WESTERN EANlq     s   csllfomir ltstcdronlrcd bsnh 3uc.€rsot by mcnpt   to   califomir unilcd   &nk . as principal,
  WHEREAS, the above named
  dcsires to givc an   undertaking;or           TEMPORARY PROTECTITT'E ORDER anilor WRIT-OF                      ATTACHMENT                      .as provided in
                       489,210              c.c.P.
  Section


  NOW THEREFORE, the Surety,                does hereby obligate itself,    jointly and severally, to
                                                      TIMOTHVM. MCKENNA                                                                                under said

  stratutory obligations in the sum   of                                        TENTHOUSAND AND NO/IOO

                                                                                   Doltars   ($-                              10.000.00                             )


  lN WITNESS WHEREOF, The corporate seal                  and name      of thc said Surety Company is hereto affixed and attested by
  OSCAR GALLEGOS                   who declares under penalty ofperjury that he is its duly authorized Attorney-in-Fact acting under an

  unrevoked power of attorney on file with the Clerk of the County in which above entitled Court is located.


  Executed                         SAN BERNARDINO                               California on                                Mav 22. 2018



  BondNo,                         33959r4

                                                                                                                  SURETEC INSURANCE COMPANY

  The premium charge for this bond
  ls       200.00           pef annum.


                                                                                                                                                 Anorney-in-Fac't



                                                               CryIL BOND



                                                                                                                                                EXHIBIT 17
                                                                           - 62 -

                                                                                                                                                       Exhibit "5"
                                                                                                                                                        Page 87
Case 6:18-bk-18036-SY       Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02          Desc
                            Main Document    Page 96 of 116

    Case
      t  6:18-bk-18036-SY    Claim 42 Part 19 Filed 05/16/19   Desc Exhibit 18   Page 1
                                            of 15



                                                                          ot
   1
                                                                       AUa 2 3
                                                                               ?018
   2

   3
                                                               *frTffiffry';*'
   4

   5

   6

   7
          SUPERIOR COItRf OF      IEE SIATE Otr CAL'IEORNIA,   COITNTI   Ol' LOS INGELES,
   I
                       NORTM|ESI DISTRICT, \'AI{ NUTS COI'RTEOUSE        EJASE
   9

  L0

  11-   PACIFIC WESTERN BANK,                          CASE NO: LCL07024
        a CaLifornia state-chartered bank,
  L2    successor by merger to California              Asslgned for AII Purposes
        Unlted Bank,                                   to The Honorable Virginia
  13                                                   Keeny, Department NW ltl
  L4
                     Plaintiff,                        SUPI'IAEION   E1OR SAI.E OF
                                                       PROPEREIES A}ID AI.I.OCEIION
  15    vs.                                            OF ![EI SAI.E PROCEEDS; ADTD
        MCKENNA GENERAL ENGINEERING,        INC.,      ORDER TEEREON
  L6
        a Cal-ifornia corPoration;
  t7    TIMOTHY M. MCKENNA' individuallY               INo Hearing Requlred]
        and as a Trustee of the MCKENNA
  18    FAMII,Y TRUST;
        CATHERINE K. MCKENNA, as a Trustee
  19    of the MCKENNA FAMILY TRUST; and
        DOES 1 through 50, inclusive,
  20
                      Defendants.
  2L

  22

  23         This Stipulatj.on for Sale of Properties and Allocation of Net
  24    SaIe Proceeds is entered into by and among the following:
  25        e plaintiff Pacific Western Bank, a California state-chartered
  26          bank ("PrilBr,), successor by merger to california united Bank
  21          (*CUB," sometimes referred to collectively with PWB as "Bank."
  28
        100s222401                           1
              StrIPUI.AIION FOR SAIfi OE PROPERTIES ADTD ALITOCAtrION Ol' NET SALE
                                 PROCEEDS; AI{D ORDER EEEREODI

                                          - 63 -                           EXHIBIT 18

                                                                                 Exhibit "5"
                                                                                  Page 88
Case 6:18-bk-18036-SY        Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02               Desc
                             Main Document    Page 97 of 116

    Case 6:18-bk-18036-SY        Claim 42 Part 19 Filed 05/16/19   Desc Exhibit 18    Page 2
                                                of 15



   1           i Defendant McKenna General Engineering, Inc., a California
   2             corporation ("MGE");
   3           r Defendant Timothy M. McKenna, individually and as Trustee of
   4             the McKenna Family Trust ("Trust");
   5           r Defendant Catherine McKenna, individually and as Trustee of
   6             the Trust, and also as Third Party Claimant; and
   7           o Third Party Claimant Patterson Law Firm, APC;
   I            This stipulation is based on the following Recitals:
   9
                                                 RECITAITS

  10           A. On or about September 26, 20t2, MGE executed and delivered
  L1     to CUB a Promissory Note ("Note") for the sum of $1r000,000.00, plus
  t2     interest, costs and fees. The principal amount of the Note was
  13     increased as CUB l"ent additional funds to MGE. The most recent quch
  t4     amendment was set forth in a Change in Terms Agreement in the amount

  15     of $1r6001000.00 on or about October 11, 20L7 (the *PWB Loan").
  L6           B. MGE failed to pay the PWB Loan in fulI when it matured on
  'J.7   .Tanuary 1", 2018   ,


  18           C. Bank thereafter filed this lawsuit on March 22, 201'8, and
  19     on or about May 24, zOLg obtained j,ssuance by the Court of Right to
  2A     Attach Orders and tlrlrits of Attachment against Timothy McKenna and the
  2l     McKenna Fanily Trust (referred to as "Trust"). The Vilrits of
  22     Attachment and Right to Attach Orders have been served and recorded,
  23     and pWB has obtained liens against the assets of TinoEhy McKenna and
  24     Catherine McKenna and the Trust as described in the Writs of
  25     Attachment.                                            I


  26          D. Catherine McKenna and Patterson Law Firm APC, her counsel
  27     in the FamiIy Law action bearing case number L7D002387, pending
  28
         1005222401                             2
              StrXPI'IATION EOR SAI,E OF PROPERTIES AITD AI.I.OCLTION         OE'    NE|X SAIJE
                                 PROCEEDS; AIID ORDER TEEREON

                                              - 64 -                           EXHIBIT 18

                                                                                      Exhibit "5"
                                                                                       Page 89
Case 6:18-bk-18036-SY       Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02             Desc
                            Main Document    Page 98 of 116

    Case 6:18-bk-18036-SY    Claim 42 Part 19 Filed 05/16/19   Desc Exhibit 18   Page 3
                                            of 15



   L    between Catherine McKenna and Tiurothy McKenna in the Superior Court
   2    of the stat,e of california, county of orange, Lamoreaux Justice
   3    Center (the ..Family Law Action") have each filed and served a Thlrd
   4
        party Claim. The Third Party Claims seek release of funds in a
   5    certain account at Chase Bank, identified herein by an account number
   6    ending in 2805 ("Chase Account"), to which they assert an interest
   7    based upon a ruling entered in the Family Law Action on April t2,
   I    2018.

   9          E. The parties to this Stipulation each assert that they have
  r.0   a superi.or cLaim and right to the funds in the Chase Account'
  11          F. In relj-ance upon the terms set forth in the Stipulation
  L2    below, pWB refrained from petitioning for a hearing on the Third
  13    party claims pursuant to statute, and from filing opposition papers
  L4    and an undertaking as to the Third Party CLaims '
  L5          G. The parties hereto have agreed to resolve all disputes
  i.6   between them relating to the Third Party Claims, and to set forth
  t7    their agreement as to the sale of certain real property as to which
  1_8   the Trust has an interest through its equity ownership in the
  19    entity/ies whlch own such real property, and the disposition of the
  20    net proceeds from the sale of such real- propertyr ds set forth below.
  2t          H. patterson Law firm has filed an OSC re contempt on 'June
  22    15, 20L8, which was personally served upon Tim McKennar dD
  23    individual, on,June 28,2018, in Case No. 17D002387. On.June 28,
  24    2oj.g, Tim McKenna invoked his Fifth Amendment right on the record in
   25   Case No. L?D002387.
  26              By entering into this Stlpulation, Tim McKenna does not
                  I.
   27   waiver or intend to waj-ve, hj.s 5th Amendment right to remain silent,
   28
         1005222401                          3
              SIIPULATION FOR SAI|E OF PROPIRTIES AI{D AI.I..OCEEION       OF    NET   SAL,E
                               PROCEEDS; AllD ORDER TEEREOII
                                          - 65 -                           EXHIBIT 18

                                                                                  Exhibit "5"
                                                                                   Page 90
Case 6:18-bk-18036-SY       Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02            Desc
                            Main Document    Page 99 of 116

    Case 6:18-bk-18036-SY    Claim 42 Part 19 Filed 05/16/19   Desc Exhibit 18   Page 4
                                            of 15



    1    in this caser ES well in Case No. 17D002387.
   2     f,EEREEORE, fEE PARTIES STIPITLATE AS FOL,LOWS' WIIE trEE AFPRO\IAIJ                  OE'


   3     TEEIR COI'NSEL OF RECORD:

    4
          j-.   Each of the foregoing Recital-s ate true and correct and
    5    incorporated by reference as though set forth at length.
    6      2, The Parties further agree that one-half of the $11,515.92
    7    originating from Chase account ending in 2805 shaLl be released to
    I    .Toseph Robert Terrazas III, as and for earned attorney's fees and
    9    costs for Tj-m McKenna. The Parties further agree that the other one-
  l0     half of the $11r615.92 shall be released to Patterson Law Firm, APC.
  1L     These fees shall be refeased and provided to Joseph Robert Terrazas
  t2     III and patterson Law Firm, APC, respectively, upon execution of this
  1_3    stipulation bY all Parties.
   14     3. The real property described below (sometimes collectively
   L5    referred to as the "Properties") shall promptly be listed for sale
   15    and thereafter so1d, as expeditiously as feasible, to a bona fide'
   1"7   arms-length purchaser, with cooperation from all interested parties:
   L8        e 1632 Railroad Street, Corona California 92880, APN: 1L8-360-049
   19           (..Rai1road property"). The Railroad Property is vested in MCJ
   20           Corporation, a California corporation, of whlch Timothy McKenna
   2t           is the president, and authorized to execute documentation fur
   22             the sale of the Railroad ProPertY;
   23           c LQ2 North Howard street, corona, california 92879, APN: L1"7-
   24             080-015 ("Howard Property"). The Howard Property is vested in
   25              LOz N. Howard, Inc., a california corporation, of which Timothy

   26             McKenna is the President, and authorized to execute
   27             documentation for the sale of the Howard Property.
   28
          100522240',|
                                             4

                STIPITLAIXO![ FOR SAI.E OF PROPERTIES A}TD ALLOCJLTION OF        NEf   SALE
                                   PROCEEDS; END ORDER TEEREOIT
                                          - 66 -                           EXHIBIT 18

                                                                                 Exhibit "5"
                                                                                  Page 91
Case 6:18-bk-18036-SY            Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02           Desc
                                 Main Document   Page 100 of 116

    Case 6:18-bk-18036-SY         Claim 42 Part 19 Filed 05/16/19   Desc Exhibit 18   Page 5
                                                 of 15



    1     4. ' AII parties shal] cooperate in the listing and sale of the
   2
         properties, and the execution of documentation reasonably required to
    3    accomplish this purpose, including but not limited to the expungement
    4    or removal of any all Notlces of Action Pending or any other cloud on
    5    title recorded by or on behalf of catherine McKenna.
    6      5. The net proceeds to which Timothy McKenna, Catherine McKenna'
    7    or the McKenna Trust (s) may be entitted from the sal"e of the
    I    properties (collectively the "Net Proceeds") will be disbursed from
    9    escrow directly to PWB, and held in a btocked account (the "Account")
  L0     at pWB. Net Proceeds shall mean the gross sale proceeds, minus
  11     ordinary and customary expenses such as broker's commissions, escrow
  1.2    fees and transfer taxes, together with an allocation for income
  13     taxes, not exceeding fifteen percent (15t) of the estimated taxable
  14     gain on sale after deduction of the parties' basis in the property'
  15      for which the Trust, Timothy McKenna and/or Catherine McKenna are
  r"6    anticipated to be resPonsible.
   l'l     6. Net proceeds shall be held in the Account, without interest, in
   r_8   order to aLlow a period of time, through December 28, 20L8, during
   1.9   which the recej.vables of McKenna General Engi-neering, Inc. and other
  20     coJlateral for the PWB loan may be collected and applied to the Joan.
  2t       7. The Net Proceeds shall not be subject to any lien or claim of
   22    any Defendant or Third Party Claimant, and aII such liens and cLaims
   23    are waived, including but not limited to any Family Law Attorney Real
   24    property Lien (FLARPL), unless and until the PWB Loan has been paid
   25    in full, in which case such Lien or claim would apply only to Net
   26    proceeds in excess of the amount payable or paid to PV{B on account of

   27    the      PWB    Loan.
   28
         {   00s22240)                            5
                 SUPUI.ITION FOR SIAI.E OF PROPERUES AI{D AIJ,OCATION OF }IET             SAI.,E
                                  PROCEEDS; AllD ORDER IEEREON
                                               - 67 -                           EXHIBIT 18

                                                                                      Exhibit "5"
                                                                                       Page 92
Case 6:18-bk-18036-SY      Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02             Desc
                           Main Document   Page 101 of 116

    Case 6:18-bk-18036-SY    Claim 42 Part 19 Filed 05/16/19   Desc Exhibit 18   Page 6
                                            of 15



    L

    2     8.    During the time that the Net Proceeds are held in the Account,
         pWB, s duties shall be timited to those set forth in this Stipulation
    3

    4    and in its Deposit Account Agreement c Disclosure that governs
    5    accounts at PWB. PIr'lB shall not be deemed or have the obligations of a
    6    custodian or an escrow holder.
    7      9. Interest on the PWB Loan shall cease to accrue, as to the
    I    amount deposited into the Account, from the date of deposlt of Net
    9    Proceeds into the Account, through December 28, 20L8,
  10       1-0. On December 28,2018, PWB shall apply the Net Proceeds in the
  L1
         ..Account" to reduce the outstanding balance on the PWB Loan. If upon

  L2     application of Net Proceeds to the PWB Loan, the amount applied to
  13     the p$lB Loan exceeds the balance remaining on the PWB Loan, then PWB
  L4     shall issue a check for such excess proceeds payable as mutually
  i_5    directed in writing by aII parties and approved by counsel, oT as
   L6    directed by final Court Order.
   L7      1i.. If an outstanding balance remains on the PWB Loan on December
   l_8   Zg,2018 after application of the Net Proceeds as described above,
   19    then Catherine McKenna wlII promptly execute and cause to be recorded
   20    the necessary document (s) to expunge and remove the lis pendens
   2T    recorded on the residential real property located at L059 S. Summer
   22    Breeze Avenue, Anaheim, California 928Q8, APN: 354-40L-16 ("Summer
   23    Breeze property") and both Timothy McKenna and Catherine McKenna
   24    cooperate in the prompt listing and sale of the Summer Breeze
   25    Property, in order to apply net proceeds to the balance due and owing
   26    on the pWB Loan. Such net sale proceeds of the Summer Breeze Property
   27    shal1 be deemed to be, and shall be treated ESr Net Proceeds to be
   28
         1005222401                          6
               STIPT'I.ITITION E'OR SAX,E OF PROPERTIES AlfD ALLOC'AIION OF      NEf   SALE
                                     PROCEEDS; Al{D ORDER IEEREON
                                          - 68 -                           EXHIBIT 18

                                                                                  Exhibit "5"
                                                                                   Page 93
Case 6:18-bk-18036-SY     Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02           Desc
                          Main Document   Page 102 of 116

   Case 6:18-bk-18036-SY    Claim 42 Part 19 Filed 05/16/19   Desc Exhibit 18   Page 7
                                           of 15




   1     immediately applied to the PWB Loan. Net Proceeds shall mean the
   2     gross sale proceeds, minus ordinary and customary exPenses such as
   3     broker, s commissi.ons, escrovt fees, i"ncome taxes (as described in
   4     paragraph 5 above) and transfer taxes'
   5      L2, Whether by revocation of the Family Trust, by operation of law
   6     or otherwise, in the event that the Properties or either of them, or
   7     the Trust, s interests therein, are transferred into the personal
   I     names of Timothy and/or Catherine, then Timothy and/or Catherine, as
    9    such transferee, agrees in his/her indivtdual capacity to hold
  r.0    his/her interest in the Properties pursuant to this Stipulation as
  L1     successor-in-interest to the Trust. Upon such transfer, Timothy and
   t2    Catherine agree to execute such additional stipulations, orders,
   L3    declarations, Qx pleadings necessary to render this Stipulation
   L4    effective as to the Properties and the successor-in-interest to the
   15    Trust.
   I6     13. Catherlne has informed the parties hereto that prior to the
   t7    date of this stipulation, she exercised a right to revoke the Trust'
   L8    The effectiveness of such revocation is unclearr 8s Timothy and
   r.9   catherine are in the midst of a dissolution of marriage proceeding
   20    and a final property settlernent has not been reached or approved by
   2L    the family court. Further, as of the date of this stipulation' the
   22    Trust, s interest in the Properties has not been transferred.
   23    Therefore, at such time, if dnY, as the Trustts interest in the
   24    properties is transferred to catherine and./or Timothy, catherine
   25    and/or Timothy in her or his capacity as successor-in-interest to the
   26    Trust, agrees to be bound by this Stipulation'
   27      14. By entering into this stipulation, Tim McKenna does not waive,
   28
          10052224O1
                                             1
              StrIPIJLA:IION trOR SAI;E OF PROPERTIE S E}ID AI.,IOCATION OT' NET    SAI..E
                                   PROCEEDS; AlfD ORDER rEEREOtl
                                         - 69 -                           EXHIBIT 18

                                                                                Exhibit "5"
                                                                                 Page 94
Case 6:18-bk-18036-SY     Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02              Desc
                          Main Document   Page 103 of 116

   Case 6:18-bk-18036-SY       Claim 42 Part 19 Filed 05/16/19   Desc Exhibit 18   Page 8
                                              of 15



   1    or intend to waive, his 5th amendment right to remain silent, in this
   2    caser ds weII in Case No. 17D002387.
   3      15. None of the parties to this Stipulation have heretofore
   4    transferred any of their interest, in the Properties or either of
   5    them, or in any entity on titte to the Properties or either of them.
   6      L6. This Stipulation and each and every paragraph and every part
   7    thereof has been carefully read and considered by the partles, and
   8    the parties fuIly and completely understand and are cognizant of all
   9    the terms and conditions and the effect of each and alJ. the terms and
  10    conditions contained in this Stipulation.
  1L     I7. This Stipulation may be executed in counterparts by facsimile
  t2    or el-ectronic signature as if an original, all of which counterparts
  L3    when taken together shall constj-tute the stipulation of the parties.
  14
         j.B. The terms and conditions set forth in this Stipulation
  15    constitute the comptete statement of this Stipulation as among the
  i.6   parties hereto, relating to the subject matter of this Stipulation,
  t7    superseding all previous negotiations and understandi-ngs' and may not
  18    be contradicted by evidence of any prior or contemporaneous
  19    Stipulation.
  20     19. This Stipulation j-s given voluntarily, free of undue influence,
  2t    coercion, duress, menace or fraud of any kind. No party, nor any
                                                                  .or for any
  22    officer, agent, employee, rePresentative or attorney of
  23    party has made any statement or representation to any other party
  24    regarding any fact relied upon in entering this Stipulation' and no
  25    party is relying upon any statement, representation or promise of any
  26    other party, nor of any officer, agent, employee, representative or
  27    attorney of or for any party, in executing this Stipulation or in
   28
        (   00522240 I                         I
                SIIPuIAIION   EOR SIAIJE OF PROPERIIES AI{D AII.OCATTON OF NEI SAIJE
                                   PROCEEDS; lllD ORDER TEEREON
                                            - 70 -                           EXHIBIT 18

                                                                                   Exhibit "5"
                                                                                    Page 95
Case 6:18-bk-18036-SY         Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02                              Desc
                              Main Document   Page 104 of 116

   Case 6:18-bk-18036-SY        Claim 42 Part 19 Filed 05/16/19                  Desc Exhibit 18     Page 9
                                               of 15




       1    maklng the sett,lenent provided herein, except as expressly etated in
       2    thls Stlpulation. Each party has been represented by counsel and
       3    advtsed regarding the matters set, forth hereLn.
       4
            Datedr August                 2018
       5                                                CATHERINE      K. MCKENNAT Trustee of the
                                -,                      McKenna      Farnily Trustr and Thlrd Party
       5                                                clalnsnt
       7

       I    Dated: August                 2018
                                                        CATHERINE K. MCKENNA, as an Lndl-vlclual.
                                -,                      as purported Successor-in-Interest to
       9
                                                        the McKenna Family lrust
      t0
      t1    Dated: August                 20Lg
                                                        TIMOTHY      M. MCKENNA' indlv     Iy and as
      L2                        -,                      Trustee      of the McKenna Fanlly Trust
      13

       1d   Dated: August                 2018          MCKENNA GENERAL ENGINEERING,          INC.

       15
                                -t                      By:          U
                                                        Name: TirnothY M. McKenna
       16                                               Tltte:       Presldent
       L7
            Dated: August                 2018          PATTERSON IJAW        FTRM, ThlTd PATTY CIAiMANt
       18

       19                           -,                  By:
                                                        Narne   l   St,eve Patterson
       20                                               Title:
       2L

       22   Dated:         August   lb ,2ol
       23
                                                         Name !        lrv\
       2A                                                Tltle:       4VP
       25

       26

       21

       28
            I   005222{0                                  9
                    StrIPUIA:IION fOR SALE       OE'   PROEERI!IES      AllD AUI.OCATION OF ![EE   SIAIIE
                                     ,.   PROCEEDS; A}ID ONDER IEEREON




                                                       - 71 -                                EXHIBIT 18

                                                                                                     Exhibit "5"
                                                                                                      Page 96
Case 6:18-bk-18036-SY               Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02                             Desc
                                    Main Document   Page 105 of 116

   Case 6:18-bk-18036-SY                Claim 42 Part 19 Filed 05/16/19         Desc Exhibit 18         Page 10
                                                       of 15




      1   making t,he settlement provided herein, except as expressly st,ated in
      2   this SEipulat,ion. Each party has been represented by counsel                                           and

      3   advised regarding the matters set forth herein.
      4
          Dat,ed: August                 ll. ,    2018
      5                                                         ERI    K.             1L   rustee   o     t,
                                                             McKenna Farnily   Trust, and Third Party
      6                                                      Claimant
      7

      8
          Dated: August                 /k,       201   B
                                                             CATHERINE K. MCKENNA, as an in v
      9
                                                             as purported Successor-in-fnterest to
                                                             the McKenna Family Trust
     10

     11   Dated: August _,2018
                                                             TIMOTHY M. MCKENNA, individually and as
     L2                                                      Trustee of the McKenna Family Trust
     13

     14   Dated:              August,   _,        2018       MCKENNA GENERAL ENGTNEERING, INC.

     15                                                      By:
                                                             Name: Timothy    M.   McKenna
     16                                                      TitIe: President
     17
                                                                              T'IRM, Thi rd Part,y Claimant,
     t8   Dated:              August    /l'   ,   2   018    PATTERSON LAv'

     19                                                      By:
                                                             Name:       e
     20                                                      Tirle z CeO
     2L

     22   Dated: August.                          2018        PACIFIC WESTERN BANK
     23
                                        -'                   Name:
     24                                                      Title:
     25
     26

     27

     28
          I 00522   2{0   }                                    9
                STIPITLAIIION FOR SALE OF FROPERrIES AIID AILOCATION OE NET                              SAIJE
                                   PROCEEDS; Al{D ORDER THEREON



                                                            - 72 -                             EXHIBIT 18

                                                                                                        Exhibit "5"
                                                                                                         Page 97
Case 6:18-bk-18036-SY             Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02                      Desc
                                  Main Document   Page 106 of 116

   Case 6:18-bk-18036-SY            Claim 42 Part 19 Filed 05/16/19         Desc Exhibit 18        Page 11
                                                   of 15




      1    APPRO\TED         AS trO TOR!{   A}TD CONTENE:

      2    Dated: August _'                  20LB     PATTERSON LAw E'XRM' APC

      3
                                                      By: Ilian Alchehayed, Esq.
      4                                               Att,orneyfor Defendant'
                                                      CATHERINE K. MCKENNA S TTUSTCC ANd AS
      5                                               purport,ed Successor-in-InteresC to the
                                                      McKenna Family Trust
      6

      7

      I    Dateci: August l{,                201.I                  UBGAIJ CORPORAIION


      9                                                 v:     Pa                  q.
                                                       Attorney for Def e    tS,
     L0                                                TIMOTHY M. MCKEN NA, individuallY and as
                                                       Trustee of the McKenna PamiIY Trust,
     L1                                                aNd    MCKENNA GENERAL ENGINEERING,           INC.

     t2
           Dated: August _,                  20L8      MXRliAll, BUBltAliI & fttllxMf,As,   T.LP
     13

     L4
                                                       By: Alan M. Mirman' Esq.
     1_5
                                                       Attorney for Pl"aintiff'
                                                       PACIFIC !{ESTBRN     BANK
     t6
     T7

     18

     19

     20

     2L

     22

     23

     24

     25
     26

     27

      28
            I   00512?d0 I                              l_0
                    SIIPIILAIIION    E'OR SALE   OF PROPERTIES AIID ALI,OCATION Or' NEtr SAI;E
                                             PROCEEDS; AllD ORDER TEEREON



                                                     - 73 -                                 EXHIBIT 18

                                                                                                   Exhibit "5"
                                                                                                    Page 98
Case 6:18-bk-18036-SY                Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02                         Desc
                                     Main Document   Page 107 of 116

   Case 6:18-bk-18036-SY               Claim 42 Part 19 Filed 05/16/19            Desc Exhibit 18        Page 12
                                                      of 15




      I    APPROVED              AS TO FORM AI{D CONIENT:

      2    Dat,ed: August              /b,     2018        PATTERSON r.AW     FIRM,    APC

      3
                                                            v: I an                          E   q.
      4                                                    Attorney for      DefendanE,
      E                                                    CATHERINE K. MCKENNA as Trustee and as
                                                           purported successor-in-Interest to t,he
      6
                                                           McKenna Family Trust,

      7

      8
           Dated: August _,                    2018        HOEE!!A!I LEGAL CORPORATfON

      9                                                    By: Paul Hoffman, Esq.
                                                           Attorney for Defendants,
     10                                                    TIMOTHY M. MCKENNA, individually and as
                                                           Trustee of the McKenna FamiIy TrusE,
     11                                                    and    MCKENNA GENERAL ENGINEERING, INC.

     t2
     13
           Dated: August                ttr,   201   I                Bt BllAll     lgulMaAs,     r,LP


     L4
                                                           By: AIan M. Mirman, Esq.
     1.5
                                                           Attorney for Plaintiff,
                                                           PACIFIC    WESTERN BANK
     t6
     l7
     18

     19

     20

     2L

      22

      23

      24

      25

      26

      27

      28
           (   0052224   0   I                              10
                   STIPUL;trtrION FOR SAIE OE PROPERTIES AllD ALLOCATION OE'NET SALE
                                               PROCEEDS,. AtiTD ORDER TIIEREON



                                                         - 74 -                                   EXHIBIT 18

                                                                                                         Exhibit "5"
                                                                                                          Page 99
Case 6:18-bk-18036-SY         Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02             Desc
                              Main Document   Page 108 of 116

   Case 6:18-bk-18036-SY       Claim 42 Part 19 Filed 05/16/19      Desc Exhibit 18   Page 13
                                              of 15




                                                     ORDER
      1

      2     The Court having considered       the above Stipulat'ion For SaIe of
      3     Properties and Allocation of Net Sale Proceeds, and good cause
      4     appearing therefor, '
       5    Ir IS OnDERED that the terms and conditions of the Stipulat'ion are
       6    approved, and the terms of the Stipulation are hereby incorporated
       7    by t,his reference.
                                                                    $ssN
                                  \b
       8

       9    Dated:                                       {\sg\$\F
                                                THE HONORABLE VIRGINIA KEENY
     1.0                                        JUDGE OF THE SUPERIOR COURT

     11

     T2

      13

      t4
      15

      16

      T7

      r.8

      L9

      20

      2L

      22
      a1

      24

      25

      26

      27

      2g
            (   005222401                       L1
                    STIPUIAIIION FOR SAI.E OF PROPERTIES AIID AI.LOCAIION OF NET SAI.E
                                      PROCEEDS; AIID OADER THEREON



                                             - 75 -                              EXHIBIT 18

                                                                                      Exhibit "5"
                                                                                      Page 100
Case 6:18-bk-18036-SY           Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02                        Desc
                                Main Document   Page 109 of 116

   Case 6:18-bk-18036-SY           Claim 42 Part 19 Filed 05/16/19         Desc Exhibit 18      Page 14
                                                  of 15
                                                                          (SPACE EELOW FOR FILING STAMP ONLY)



    I                                              PROOF OF SERVICE

   2
        LOS A}IGELES COUNTY              )
   3                                     ) ss
        STATE OF CALIFORNIA              )
   4
                I am employed in the County of Los Angeles, State of California, in the offtce of a member
   5    of the bar  of this court at whose direction the service was made. I am over the age of l8 and not a
        party to the within action. My business address is 21860 Burbank Boulevard, Suite 360, Woodland
   6
        Hills, Califo mia 9 13 67 .
   7
             On AugustJa, ZOtg. I served a true and correct copy of the document described as
   8    sTrpuLATroN FOR SALE OF PROPpRTIES ANp ALLOCATION OF NET SALE
        PROCEEDS: AIYD ORDER THEREON on the interested parties named below, as follows:
    9

  10                                          sEE ATTACHEp SERVIg.4, LISI

  11     txl      (BY MAIL) I arn familiar with the ordinary business practice of the law firm of MIRMAN,
                  bUnuaN'& NAHMLAS, LLP for collection and processing of correspondence for mailing
  L2              with the United States Postal Service at the aforementioned place of business and that the
                  above-entitled document was placed in a sealed envelope and deposited for collection and
  1"3             mailine on the date stated above, following such ordinary practices, and in such manner as to
                  cause It to be deposited with the United States Postal Service ttrat.sarye day,-with postage
  L4              thereon fully prepaid, in the ordinary course of business, addressed as indicated above.

  15    tI        (BY FACSIMILE TRANSMISSIOI.D Based on the agreement of the parties to accept service
                  by facsimile transmission, I faxed the document(s) to the person(s) via facsimile machine
  L6              number (818) 451-4620 to the person(s) at the fax number(s) listed on the service list on
  1"7
                  August 17,2018. No enor was reported by the facsimile machine that I used.

  18    txl       (BY E-MAIL) Based on a court order or an agJeement of the parties to accept service by e-
                  mail or elecn6nic bansmission. I caused the documents to be sent to the persons at the e-mail
  t9              addresses listed. I did not receive, within a reasonable time after the transmission, any
                  electonic message or other indication that the transmission was unsuccessful..
  20
        t1        (BY PERSONAL SERVICE) I caused such envelope to be delivered by hand to the
  2L              ofiices of the addressee.

  22    tl        (BY OVERNIGHT DELIVERY, CCP l0l3(c,d) I enclosed the documents in an envelope or
                  iackage provided by an ovemight delivery carrier and addressed to the persons at the
  23              iddre$es^listed belo'fu. I placed t[e envelop6 or package for collection and ove:might delivery
                  at an offrce or a regUlarly utilized drop box of the overnight delivery carrier.
  24
        tXJ       (STATE) I declare under penalty of perjury under the laws of the State of California that the
  25              above is true and conect.

  26              Executed on AugustJZ,2018, at Woodland Hills,

  27
                                                                                       A
  28

        {00504873 }
                                                    PROOF OF SERVICE

                                                    - 76 -                                 EXHIBIT 18

                                                                                                 Exhibit "5"
                                                                                                 Page 101
           Case 6:18-bk-18036-SY        Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02                       Desc
                                        Main Document   Page 110 of 116

              Case 6:18-bk-18036-SY         Claim 42 Part 19 Filed 05/16/19          Desc Exhibit 18   Page 15
                                                           of 15
.   f,t,

                                 I
                                                                Service List
               L
                                                  PaciJic Western Bankv. McKenna, et al.
               2
                   Paul A. Hoffinan, Esq.
               3   Sandra M. Becker, Esq.
                   HOFFMAN LEGAL CORPORATION
               4   27405 Puerta Real, Suite 250
                   Mission Viejo, CA 92691
               5
                   Telephone: (949) 600-8889
               6   Facsimile: (949) 297 -37 67
                   Email: pahoffinan@hoffinanlegal.net
               7   Attomeys for Defendants, MoKENNA GENERAL
                   ENGINGEERING, INC,, a California coporation and
               I   TIMOTI{Y M. McKENNA, individually and as a Trustee of the
               9   McKENNA FAMILY TRUST

              10   Steven R. Patterson, Esq.
                   Ilian Alchehayed, Esq.
              11
                   Patterson Law Firm, APC
             t2    Attomeys at Law
                   1800 E. Imperial Highway, Suite 110
             13    Brea,   CA   92821
                   Emai I : steven@oclawpro.com
              t4           Ilian@oclawpro.com
             15    Attorneys    for Defendant, CATHERINE K. MoKENNA,           trs
                   TTSIEE Of thE MCKENNA FAMILY TRUST
              15

             T7

              L8

              19

              20

              2L

             22

              23

              24

             25

             26

             27

             28


                                                              PROOF OF SERVICE
                                                                                                           (   oosorezr )
                                                           - 77 -                                 EXHIBIT 18

                                                                                                       Exhibit "5"
                                                                                                       Page 102
Case 6:18-bk-18036-SY   Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02   Desc
                        Main Document   Page 111 of 116




                    Exhibit “6”
     Case 6:18-bk-18036-SY                       Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02                                              Desc
                                                 Main Document   Page 112 of 116
          Case 8:18-bk-13588-SC                   Doc 142 Filed 05/15/19 Entered 05/15/19 17:09:26                                       Desc
                                                    Main Document Page 1 of 3

 OAttorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

 A. Kenneth Hennesay, Jr. (SBN 187531)
 Allen Matkins Leck Gamble Mallory & Natsis LLP                                                          FILED & ENTERED
 1900 Main Street, Fifth Floor
 Irvine, California 92614-7321
 Tel: (949) 553-1313 Fax: (949) 553-8354                                                                         MAY 15 2019
 Email: khennesay@allenmatkins.com
                                                                                                           CLERK U.S. BANKRUPTCY COURT
                                                                                                           Central District of California
                                                                                                           BY nbolte     DEPUTY CLERK




      Attorney for Movant
      Movant appearing without an attorney

                                            UNITED STATES BANKRUPTCY COURT
                                     CENTRAL DISTRICT OF CALIFORNIA –Santa Ana DIVISION

 In re:                                                                       CASE NO.: 8:18-bk-13588-SC

 Tim M. McKenna                                                               CHAPTER: 7

                                                                                        ORDER GRANTING MOTION FOR
                                                                                        RELIEF FROM THE AUTOMATIC
                                                                                         STAY UNDER 11 U.S.C. § 362
                                                                                           (PERSONAL PROPERTY)

                                                                              DATE: May 2, 2019
                                                                              TIME: 10:00 a.m.
                                                                              COURTROOM: 5C
                                                                              PLACE: 411 West Fourth Street, Santa Ana, CA 92701
                                                              Debtor(s).
 Movant: Pacific Western Bank



1. The Motion was:                      Opposed               Unopposed               Settled by stipulation

2. The Motion affects the following personal property (Property):

          Vehicle (year, manufacturer, type and model):

          Vehicle identification number:
          Location of vehicle (if known):

          Equipment (manufacturer, type, and characteristics):

          Serial number(s):
          Location (if known):




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2014                                                                Page 1                                          F 4001-1.RFS.PP.ORDER
                                                                                                                                    Exhibit "6"
                                                                                                                                    Page 103
           Case 6:18-bk-18036-SY                    Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02                                             Desc
                                                    Main Document   Page 113 of 116
            Case 8:18-bk-13588-SC                   Doc 142 Filed 05/15/19 Entered 05/15/19 17:09:26                                       Desc
                                                      Main Document Page 2 of 3

            Other personal property (type, identifying information, and location):
            Bank account deposits with Movant in account number XXXXXXX7998.




            See Exhibit             attached to the Motion.

3. The Motion is granted under:
      a.         11 U.S.C. § 362 (d)(1)
      b.         11 U.S.C. § 362 (d)(2)

4.          As to Movant, its successors, transferees and assigns, the stay of 11 U.S.C. § 362(a) is:
      a.         Terminated as to the Debtor and the Debtor’s bankruptcy estate.
      b.         Modified or conditioned as set for the in Exhibit                    to this order.
      c.         Annulled retroactively to the bankruptcy petition date. Any postpetition acts taken by Movant to enforce its
                 remedies regarding the Property do not constitute a violation of the stay.

5.          Movant may enforce its remedies to repossess or otherwise obtain possession and dispose of the Property in
            accordance with applicable nonbankruptcy law, but may not pursue any deficiency claim against the Debtor or
            property of the estate except by filing a proof of claim pursuant to 11 U.S.C. § 501.

6.          Movant must not repossess the Property before (date)                                   .

7.          The stay remains in effect subject to the terms and conditions set forth in the Adequate Protection Agreement to
            this order.

8.          In chapter 13 cases, the trustee must not make any further payments on account of Movant’s secured claim after
            entry of this order. The secured portion of Movant’s claim is deemed withdrawn upon entry of this order without
            prejudice to Movant’s right to file an amended unsecured claim for any deficiency. Absent a stipulation or order to
            the contrary, Movant must return to the trustee any payments received from the trustee on account of Movant’s
            secured claim after entry of this order.

9.          The co-debtor stay of 11 U.S.C. § 1201(a) or § 1301(a) is terminated or modified as to the co-debtor, as to the same
            terms and conditions.

10.         The 14-day stay provided by FRBP 4001(a)(3) is waived.

11. This order is binding and effective despite any conversion of this bankruptcy case to a case under any other chapter of
    the Bankruptcy Code.

12.         This order is binding in any other bankruptcy case purporting to affect the Property filed not later than 2 years
            after the date of entry of such order, except that a debtor in a subsequent case may move for relief from the order
            based upon changed circumstances or for good cause shown, after notice and hearing.

13.         This order is binding and effective in any bankruptcy case commenced by or against the Debtor for a period of
            180 days, so that no further automatic stay shall arise in that case as to the Property.

14.         This order is binding and effective in any bankruptcy case commenced by or against any debtor who claims any
            interest in the Property for a period of 180 days, so that no further automatic stay shall arise in that case as to the
            Property.




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2014                                                                  Page 2                                          F 4001-1.RFS.PP.ORDER
                                                                                                                                       Exhibit "6"
                                                                                                                                       Page 104
           Case 6:18-bk-18036-SY                    Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02                                             Desc
                                                    Main Document   Page 114 of 116
            Case 8:18-bk-13588-SC                   Doc 142 Filed 05/15/19 Entered 05/15/19 17:09:26                                       Desc
                                                      Main Document Page 3 of 3

15.         This order is binding and effective in any future bankruptcy case, no matter who the debtor may be
      a.         without further notice.
      b.         upon recording of a copy of this order or giving appropriate notice of its entry in compliance with applicable
                 nonbankruptcy law.

16.         Other (specify):




                                                                             ###




                    Date: May 15, 2019




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2014                                                                  Page 3                                          F 4001-1.RFS.PP.ORDER
                                                                                                                                       Exhibit "6"
                                                                                                                                       Page 105
        Case 6:18-bk-18036-SY                    Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02                                       Desc
                                                 Main Document   Page 115 of 116

                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620

A true and correct copy of the foregoing document entitled: MOTION TO APPROVE AGREEMENT REGARDING
COLLECTION OF RECEIVABLES AND PARTIAL SUBORDINATION OF LIEN WITH PACIFIC WESTERN BANK;
DECLARATION OF ROBERT S. WHITMORE IN SUPPORT will be served or was served (a) on the judge in chambers in
the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On October
23, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On October 23, 2019, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL: Pursuant to
F.R.Civ.P. 5 and/or controlling LBR, on October 23, 2019, I served the following persons and/or entities by personal
delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
judge will be completed no later than 24 hours after the document is filed.


  VIA PERSONAL DELIVERY
  PRESIDING JUDGE’S COPY
  Bankruptcy Judge Honorable Scott H. Yun
  U. S. Bankruptcy Court – Central District
  3420 Twelfth Street, Suite 345 / Courtroom 302
  Riverside, CA 92501-3819


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  October 23, 2019               Cynthia Bastida                                                 /s/ Cynthia Bastida
  Date                           Printed Name                                                    Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
4825-8362-5898, v. 1
        Case 6:18-bk-18036-SY                    Doc 111 Filed 10/23/19 Entered 10/23/19 15:14:02                                       Desc
                                                 Main Document   Page 116 of 116

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): continued:
     CREDITOR SANTA MARGARITA WATER DISTRICT: Caroline Djang caroline.djang@bbklaw.com,
       julie.urquhart@bbklaw.com; sansanee.wells@bbklaw.com; paul.nordlund@bbklaw.com
     INTERESTED PARTY COURTESY NEF: Jeremy Faith Jeremy@MarguliesFaithlaw.com,
       Helen@MarguliesFaithlaw.com; David@MarguliesFaithLaw.com; Victoria@MarguliesFaithlaw.com
     INTERESTED PARTY MARC C FORSYTHE: Marc C Forsythe kmurphy@goeforlaw.com,
       mforsythe@goeforlaw.com; goeforecf@gmail.com
     ATTORNEY FOR TRUSTEE ROBERT WHITMORE (TR): D Edward Hays ehays@marshackhays.com,
       8649808420@filings.docketbird.com
     CREDITOR PACIFIC WESTERN BANK: Kenneth Hennesay khennesay@allenmatkins.com,
       ncampos@allenmatkins.com
     CREDITOR DEVELOPERS SURETY AND INDEMNITY COMPANY, AN AMTRUST GROUP INSURANCE
       COMPANY: Alan Craig Hochheiser ahochheiser@mauricewutscher.com, arodriguez@mauricewutscher.com
     INTERESTED PARTY COURTESY NEF: Michael Y Jung on behalf of Interested Party Courtesy NEF
       jung@luch.com, kbrown@luch.com, kimberley@luch.com
     INTERESTED PARTY COURTESY NEF: Leslie K Kaufman on behalf of Interested Party Courtesy NEF
       kaufman_kaufman.bankruptcy@yahoo.com
     INTERESTED PARTY COURTESY NEF: Noreen A Madoyan on behalf of Interested Party Courtesy NEF
       Noreen@MarguliesFaithLaw.com, Helen@MarguliesFaithlaw.com; Victoria@MarguliesFaithlaw.com;
       David@MarguliesFaithLaw.com
     ATTORNEY FOR TRUSTEE ROBERT WHITMORE (TR): Tinho Mang tmang@marshackhays.com
     CREDITOR LAW OFFICES OF MICHELLE J. SUKHOV, INC.: Michelle J Nelson mjslaw@hotmail.com
     CREDITOR PACIFIC WESTERN BANK: Scott H Noskin snoskin@mbnlawyers.com, aacosta@mbnlawyers.com
     CREDITOR PACCAR FINANCIAL CORP.: Raymond A Policar policarlaw@att.net
     CREDITOR WELLS FARGO EQUIPMENT FINANCE, INC.: Richard A Solomon richard@sgswlaw.com
     DEBTOR MCKENNA GENERAL ENGINEERING, INC.: Michael G Spector mgspector@aol.com,
       mgslawoffice@aol.com
     INTERESTED PARTY COURTESY NEF: Meghann A Triplett on behalf of Interested Party Courtesy NEF
       Meghann@MarguliesFaithlaw.com, Helen@MarguliesFaithlaw.com; Victoria@MarguliesFaithlaw.com;
       David@MarguliesFaithLaw.com
     UNITED STATES TRUSTEE (RS): United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov
     TRUSTEE FOR BANKRUPTCY ESTATE OF MCKENNA GENERAL ENGINEERING, INC.: Robert Whitmore
       (TR) rswtrustee@yahoo.com, rwhitmore@ecf.epiqsystems.com

2. SERVED BY UNITED STATES MAIL: continued:
 DEBTOR                        SECURED CREDITOR / POC ADDRESS                                               SECURED CREDITOR
 MCKENNA GENERAL               PACIFIC WESTERN BANK                                                         PACIFIC WESTERN BANK
 ENGINEERING, INC.             50 W. HILLCREST DRIVE                                                        5900 LA PLACE COURT, STE. 200
 20330 TEMESCAL CANYON RD      THOUSAND OAKS, CA 91360-4204                                                 CARLSBAD, CA 92008-8832
 CORONA, CA 92881-4944




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
4825-8362-5898, v. 1
